Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 1 of 33 PageID #:421




                                                     Exhibit 11
                                                                                                                                           FILED
                         Case:scheduled
      Hearing Date: No hearing                                                                       8/8/2024 11:30 AM
                               1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 2 of 33 PageID #:422
      Location: <<CourtRoomNumber>>                                                                  IRIS Y. MARTINEZ
      Judge: Calendar, 9                                                                             CIRCUIT CLERK
                                                                                                                                           COOK COUNTY, IL
                                                                                                                                           2024CH04952
                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                                   Calendar, 9
                                                                COUNTY DEPARTMENT, CHANCERY DIVISION                                       28864526
                                            GTY Technology Holdings, Inc., d/b/a Euna Solutions )
                                             and CityBase, Inc.                                 )
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                                          Plaintiffs,                           )
                                                          v.                                    ) Case No. 2024 CH 04952
                                            Wonderware, Inc. d/b/a CORE Business Technologies   ) Hon. Ceclia Horan
                                            Michael Duffy, and Christopher Lewis                )
                                                          Defendants.                           )
                                            CORE AND DUFFY’S EMERGENCY MOTION TO STRIKE TRADE SECRET ISSUES
                                                      FROM THE UPCOMING PRELIMINARY INJUNCTION HEARING
                                              BASED ON PLAINTIFFS’ FAILURE TO HONOR THE COURT’S JULY 26 ORDER

                                                                                Statement Of Emergency

                                                   This is the second time the Court has addressed deficiencies in the plaintiffs answer to trade

                                            secret interrogatories (hereinafter “TSI”). At a July 26 hearing, Defendants explained that

                                            Plaintiffs had responded to the TSI by providing only generic descriptions of categories of

                                            information rather than specifying any particular trade secret beyond the so-called Excel and Deck

                                            mentioned in the Complaint. The Court posed Plaintiffs a simple question (Ex. 1, Tr. p. 5:13-15):

                                              Is there an allegation that other trade secrets were taken besides the
                                              Excel and the deck?

                                            In response, Plaintiffs’ counsel offered no clear answer to the Court’s question. After hearing more

                                            argument from both sides, the Court made its ruling clear (Id., p. 22:16-18):

                                              [I]t does seem like, plaintiff, you’re going to have to answer what
                                              [trade secret] you know was taken.

                                            The Court ordered Plaintiffs to supplement its TSI answers by August 2, 2024 (Ex. 2, Order).

                                            Plaintiffs, however, did not do the work, repackaging the same old generic categories (Ex. 3

                                            Supplemental TSI Answers). At the preliminary injunction hearing set in just 84 days, with trial

                                            materials due in just 62 days Plaintiffs propose an injunction that would cripple CORE’s business.

                                            If this bet-the-company case were about trade secrets, Defendants’ discovery plan would involve

                                            15+ depositions, as well as third party and expert discovery. A contract/fiduciary case by contrast

                                            is much narrower, requiring 5 or less depositions, and no expert or third-party discovery.

                                            Defendants thus need to know as soon as possible whether – and what – trade secrets are at issue.
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 3 of 33 PageID #:423
FILED DATE: 8/8/2024 11:30 AM 2024CH04952
                                              Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 4 of 33 PageID #:424



                                                   Plaintiffs have provided the same generic trade secret description in no less than ten papers:

                                               x   The Original Complaint filed May 24, 2024
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                               x   The Original Preliminary Injunction Motion filed May 29, 2024
                                               x   The Amended Complaint filed June 18, 2024
                                               x   The TRO Motion filed June 10, 2024
                                               x   The Reply in Support of TRO filed June 27, 2024
                                               x   The first answers to TSI, served July 19, 2024
                                               x   The first renewed Preliminary Injunction Motion filed July 22, 2024
                                               x   The second answers to TSI served August 2, 2024 (Ex. 3)
                                               x   The second renewed Preliminary Injunction Motion filed August 5, 2024
                                               x   The third answers to TSI served August 8, 2024

                                            But other than the Excel and the Deck, Plaintiffs have offered no specific trade secret, and under

                                            NAV plaintiffs cannot move forward with a trade secret claim predicated on such generic

                                            descriptions. There are just 84 days until the October 31 hearing, and just 62 days before all

                                            hearing materials must be submitted. A trade secret case requires massive work from defendants

                                            to expose where in the public domain the “trade secrets” reside. Without knowing what the “trade

                                            secrets” are, it is simply not possible for Defendants to start the work of debunking Plaintiffs’

                                            claims. Under NAV Plaintiffs cannot be allowed to conduct discovery AND THEN declare their

                                            trade secrets. While discovery on plaintiffs’ non-trade secrets claims can go forward (at least until

                                            the Court addresses the motions to dismiss those claims) in the 43 business days remaining before

                                            trial materials are due, it makes no sense for the parties to waste time and money conducting

                                            discovery, including the retention of costly expert witnesses, on trade secret issues that have not

                                            yet been articulated.




                                                                                             3
                                              Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 5 of 33 PageID #:425



                                                   WHEREFORE, Defendants request that the Court enter an order striking the trade secret

                                            claims from the current preliminary injunction schedule.
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            Dated: August 8, 2024                               Respectfully submitted,

                                            Daniel Lynch                                        Wonderware, Inc. (d/b/a Core Business
                                            Amy J. Kanarowski                                   Technologies) and Michael Duffy
                                            LYNCH THOMPSON LLP (#60040)
                                            150 S. Wacker Dr., Ste 2600
                                            Chicago, Illinois 60606
                                            (312) 346-1600                                      /s/ Daniel Lynch
                                            dlynch@lynchthompson.com                            One of their Attorneys
                                            akanarowski@lynchthompson.com
                                            docketing@lynchthompson.com




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                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 6 of 33 PageID #:426
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                                                                                     Exhibit 1
                                                Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 7 of 33 PageID #:427
                                                                          Transcript of Proceedings
                                                                                   July 26, 2024

                                            · · · · · · ·IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                            · · · · · · · · ·COUNTY DEPARTMENT - CHANCERY DIVISION
                                            ·
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            · · · · GTY TECHNOLOGY HOLDINGS,· · · )
                                            · · · · INC., d/b/a EUNA SOLUTIONS· · )
                                            · · · · and CITYBASE, INC.,· · · · · ·)
                                            · · · · · · · · · · · · · · · · · · · )
                                            · · · · · · · · ·Plaintiffs,· · · · · ) No. 24 L 04952
                                            · · · · · · · · · · · · · · · · · · · )
                                            · · · · · · -vs-· · · · · · · · · · · )
                                            · · · · · · · · · · · · · · · · · · · )
                                            · · · · WONDERWARE, INC. (d/b/a· · · ·)
                                            · · · · CORE BUSINESS· · · · · · · · ·)
                                            · · · · TECHNOLOGIES), MICHAEL· · · · )
                                            · · · · DUFFY and CHRISTOPHER· · · · ·)
                                            · · · · LEWIS,· · · · · · · · · · · · )
                                            · · · · · · · · · · · · · · · · · · · )
                                            · · · · · · · · ·Defendants.· · · · · )
                                            · · · · ______________________________)
                                            ·

                                            · · · · · · · · · · · REPORT OF REMOTE PROCEEDINGS
                                            · · · · · · · · · · · · COOK COUNTY, ILLINOIS
                                            · · · · · · · · · · · · · July 26th, 2024
                                            · · · · · · · · · · ·Before Honorable Cecelia Horan
                                            ·

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                                            · · · · REPORTED BY:
                                            · · · · Linda A. Barger
                                            · · · · CSR No. 084-0044442
                                            · · · · APPEARING REMOTELY FROM COOK COUNTY, ILLINOIS


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                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 8 of 33 PageID #:428
                                                                      Transcript of Proceedings
                                                                               July 26, 2024
                                                                                                   Page 2                                                           Page 4
                                             ·1· · · A P P E A R A N C E S:                                   ·1· · · a deadline today.· We are to submit additional written
                                             ·2· · · · · ROPES GRAY, LLP., By
                                             · · · · · · MR. TIMOTHY R. FARRELL                               ·2· · · discovery.· And in the conversations that led up to
                                             ·3· · · · · MR. JEFFREY BUSHOFSKY                                ·3· · · the agreement on the order, the scheduling order that
                                             · · · · · · MS. JANE McGRAW
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                             ·4· · · · · 191 North Wacker Drive, 32nd Floor
                                                                                                              ·4· · · the Court entered, there was to be a two-step process.
                                             · · · · · · Chicago, Illinois· 60606                             ·5· · · The first step was to have been completed by the
                                             ·5· · · · · (312) 845-1200
                                             · · · · · · timothy.farrell@ropesgray.com
                                                                                                              ·6· · · plaintiffs last Friday, and that is to answer a set of
                                             ·6                                                               ·7· · · Interrogatories that we had served on them before we
                                             ·7· · · · · · · ·On behalf of the Plaintiff;
                                                                                                              ·8· · · agreed on the schedule so they knew what they were.
                                             ·8
                                             · · · · · · LYNCH THOMPSON, LLP., By                             ·9· · · The Interrogatories were a series of eight
                                             ·9· · · · · MR. DANIEL LYNCH                                     10· · · Interrogatories keyed off the allegations of the
                                             · · · · · · 150 South Wacker Drive, Suite 2600
                                             10· · · · · Chicago, Illinois· 60606                             11· · · complaint in which they specifically alleged the
                                             · · · · · · (312) 346-1600                                       12· · · existence of trade secrets beyond the Excel and the
                                             11· · · · · dlynch@lynchthompson.com
                                             12                                                               13· · · deck.
                                             · · · · · · · · ·On behalf of Core Business Technologies, Inc.   14· · · · · · · ·As the Court will recall we resolved the
                                             13· · · · · · · ·And Michael Duffy;
                                             14
                                                                                                              15· · · issues on the so-called Excel and the so-called deck
                                             15· · · · · CARPENTER LIPPS, LLP., By                            16· · · by an agreed order that was entered at the TRO hearing
                                             · · · · · · MR. JONATHAN CYRLUK
                                             16· · · · · MR. STEVE MOELLER
                                                                                                              17· · · that had been scheduled.
                                             · · · · · · 180 North LaSalle Street, Suite 2105                 18· · · · · · · ·So these Interrogatories were designed to get
                                             17· · · · · Chicago, Illinois 60601
                                                                                                              19· · · at the issues to determine whether and, if so, what
                                             · · · · · · (312) 777-4300
                                             18· · · · · cyrluk@carpenterlipps.com                            20· · · there are additional trade secrets.· Now, at least
                                             19· · · · · · · ·On behalf of Christopher Lewis.                 21· · · from our point of view, that information should have
                                             20
                                             21· · · · · Also Present:· Mike Duffy.                           22· · · been disclosed in the complaint but, okay, it wasn't,
                                             22                                                               23· · · so we said if you're alleging there are other trade
                                             23
                                             24                                                               24· · · secrets, please tell us what they are.

                                                                                                   Page 3                                                           Page 5
                                             ·1· · · · · · · ·THE COURT:· Good morning, everybody.· I'm       ·1· · · · · · · ·THE COURT:· Are they alleging those other
                                             ·2· · · Judge Horan.· We are here on an emergency motion in      ·2· · · trade secrets were taken?
                                             ·3· · · the GTY case.· I assume we have a court reporter so      ·3· · · · · · · ·MR. LYNCH:· Well, that's not clear.· They do
                                             ·4· · · would the parties introduce themselves for the record.   ·4· · · say the words that they were, but it's a little tricky
                                             ·5· · · · · · · ·MR. FARRELL:· Jeffrey Farrell, Jeff Bushofsky   ·5· · · when you're trying to unpack the complaint because the
                                             ·6· · · and it looks like our colleague, Jane McGraw, is on as   ·6· · · complaint makes clear the allegation that the
                                             ·7· · · well for the plaintiffs.                                 ·7· · · defendants took Excel and the deck.· The complaint is
                                             ·8· · · · · · · ·THE COURT:· Okay.                               ·8· · · not as crystal clear that their allegation is that
                                             ·9· · · · · · · ·MR. LYNCH:· Daniel Lynch for Core and Duffy,    ·9· · · they took other stuff.
                                             10· · · your Honor.                                              10· · · · · · · ·THE COURT:· Does that matter?· Doesn't that
                                             11· · · · · · · ·MR. CYRLUK:· Good morning, your Honor,          11· · · matter?
                                             12· · · Jonathan Cyrluk and Steve Moeller on behalf of           12· · · · · · · ·MR. LYNCH:· Of course it does, your Honor.
                                             13· · · Defendant Lewis.                                         13· · · · · · · ·THE COURT:· Let's ask them.· Is there an
                                             14· · · · · · · ·THE COURT:· Okay.· Who else?· Moeller?          14· · · allegation that other trade secrets were taken besides
                                             15· · · · · · · ·MR. CYRLUK:· Moeller, M-O-E-L-L-E-R.· I'll      15· · · the Excel and the deck?
                                             16· · · also note that the record can reflect that Mr. Duffy     16· · · · · · · ·MR. FARRELL:· Your Honor, the trade secrets
                                             17· · · is also present in the Zoom room here.                   17· · · claim, as its currently stated, is two-fold.· We know
                                             18· · · · · · · ·THE COURT:· Okay, very good.                    18· · · that Mr. Duffy and Mr. Lewis conspired against my
                                             19· · · · · · · ·So I saw there is an emergency motion and the   19· · · client when they left.· We know for sure that
                                             20· · · complaint is that the Interrogatories, the responses     20· · · Mr. Lewis took two trade secret documents before he
                                             21· · · to the Interrogatories, are not helpful in furthering    21· · · left based on a forensic investigation.· We've done
                                             22· · · discovery.· Who wants to speak to that?                  22· · · some more digging.· Mr. Duffy was not subjected to the
                                             23· · · · · · · ·MR. LYNCH:· So it's my motion, your Honor,      23· · · same as the CEO -- was not subjected to the same
                                             24· · · and I'll try and be as brief as possible, but we have    24· · · forensic software with respect to his accounts as Mr.


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                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 9 of 33 PageID #:429
                                                                      Transcript of Proceedings
                                                                               July 26, 2024
                                                                                                   Page 6                                                           Page 8
                                             ·1· · · Lewis and so, to some extent, we need discovery from     ·1· · · this Court over what is a discovery dispute.· We have
                                             ·2· · · Mr. Duffy and his personal devices and personal          ·2· · · until September 16th to file motions to compel.· So,
                                             ·3· · · accounts to understand the full extent of what he has    ·3· · · anyway, I'll stop there.· But, your Honor, it seems
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                             ·4· · · and what he took.· But we have pled the inference that   ·4· · · like the easy fix here is to amend the schedule to
                                             ·5· · · we know they have already taken certain things.· I can   ·5· · · allow the parties to just amend their discovery
                                             ·6· · · tell your Honor based on the limited Interrogatory       ·6· · · request so that, as Mr. Lynch says, he feels like he's
                                             ·7· · · responses we've gotten from the defendants so far, we    ·7· · · jammed up today.· As we work through discovery and
                                             ·8· · · have been able to look into some of the activities of    ·8· · · supplement our Interrogatories, like we're likely to
                                             ·9· · · some of the other agents that have since left my         ·9· · · do based on our investigation and based on the
                                             10· · · client that Mr. Duffy poached, and it appears they       10· · · discovery we expect to get from Mr. Duffy, they can
                                             11· · · have also sent information to themselves.· Maybe those   11· · · then propound additional discovery requests based on
                                             12· · · people were acting through Duffy.· That is something     12· · · that.
                                             13· · · we are just investigating now.· But we know all of       13· · · · · · · ·THE COURT:· Okay.· Mr. Cyrluk, what do you
                                             14· · · that is true.                                            14· · · want to say?
                                             15· · · · · · · ·We have also raised the inevitable disclosure   15· · · · · · · ·MR. CYRLUK:· Your Honor, it's been three
                                             16· · · doctrine, your Honor, which says that by virtue of       16· · · minutes and 30 seconds that Mr. Farrell spoke.· And if
                                             17· · · Mr. Duffy's role at my client, he had access to          17· · · he was in a deposition, I'd ask him this:· Do you
                                             18· · · non-public customer lists, customer profiles, employee   18· · · remember the Court's question?· The Court asked:
                                             19· · · information.· The list goes on and on, your Honor.       19· · · Mr. Farrell, are you alleging that they took any other
                                             20· · · That's all in our Interrogatory responses.· Under        20· · · trade secrets?· It's a yes or no.· He didn't answer
                                             21· · · Illinois law the fact that he can't unlearn those        21· · · the question.· He filibustered.· He would have been
                                             22· · · things -- and this is all outlined in our                22· · · great talking head on one of the talk shows talking
                                             23· · · Interrogatory responses -- that constitutes a theft of   23· · · politics, but he hasn't answered the question, what
                                             24· · · trade secrets under Illinois law and under the           24· · · else do you allege that we took?· And it's

                                                                                                   Page 7                                                           Page 9
                                             ·1· · · Illinois Trade Secret statute.· So that is where we      ·1· · · insufficient to say data, code.· You have to identify.
                                             ·2· · · are today.· But what Mr. Lynch and Mr. Cyrluk want us    ·2· · · And he likes to talk about this inevitable disclosure.
                                             ·3· · · to do is to identify every trade secret in Mr. Duffy's   ·3· · · Well, you have stuff.· We don't know what you have,
                                             ·4· · · possession.· Your Honor, we need discovery to be able    ·4· · · but you have stuff, and it's inevitably disclosed.
                                             ·5· · · to do that and so they are putting the cart before the   ·5· · · · · · · ·Well, the leading case on that is that
                                             ·6· · · horse here.· We have issues with their discovery         ·6· · · Pepsico case.· That Pepsico case six days after an
                                             ·7· · · responses as well.· Your Honor, this is not an           ·7· · · employee left, they filed a complaint and a motion for
                                             ·8· · · emergency.· It's a discovery dispute.                    ·8· · · TRO and a motion for preliminary injunction.· In that
                                             ·9· · · · · · · ·I think I can cut to the chase here.· If the    ·9· · · case, in the complaint and in the proceedings, they
                                             10· · · real emergency that defense counsel is asserting is      10· · · identified specific documents.· They identified a
                                             11· · · that they can't propound discovery requests without --   11· · · written document called a strategic plan.· They
                                             12· · · every trade secret that Mr. Duffy has, despite the       12· · · identified a written document called the annual
                                             13· · · fact we don't have full visibility into that, we are     13· · · operating plan.· They identified another written
                                             14· · · happy to amend the schedule to allow them and us to      14· · · document called the Tac Plan.· All of them were in
                                             15· · · supplement our discovery requests to the extent          15· · · writing.· All of them had been marked confidential.
                                             16· · · further discovery comes along that prompts the need to   16· · · They talk about innovation and cited delivery systems
                                             17· · · propound more specific discovery requests.· That seems   17· · · that they spent over a million dollars to develop back
                                             18· · · like the easiest fix to me.· There is no present to      18· · · in 1995.· All of that was in writing and it was
                                             19· · · prejudice to either party and, frankly, your Honor, we   19· · · specifically identified to allow the Court in the
                                             20· · · are going to need to do that too based on the            20· · · Pepsico case to analyze whether that is a trade secret
                                             21· · · insufficiency of defendants' Interrogatory responses.    21· · · or not.· They haven't done that.· We've asked them,
                                             22· · · So it seems to me that is the easy fix here -- and,      22· · · tell us besides the Excel and the deck what
                                             23· · · again, your Honor's standing order says true             23· · · specifically are you claiming in the trade secret?
                                             24· · · emergencies are rare.· Defense Counsel is running into   24· · · And they tried to flip it around on us by saying


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                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 10 of 33 PageID #:430
                                                                       Transcript of Proceedings
                                                                                July 26, 2024
                                                                                                   Page 10                                                          Page 12
                                              ·1· · · inevitable disclosure?· It's a yes-or-no question:       ·1· · · asking them where did they get it?· How is it
                                              ·2· · · What did we take?· Start with that one and then he       ·2· · · different from off-the-shelf products?· That sort of
                                              ·3· · · says the second aspect is inevitable disclosure.         ·3· · · thing.
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                              ·4· · · Disagree about the Excel and the deck.· He can talk      ·4· · · · · · · ·THE COURT:· I mean, can you revamp your
                                              ·5· · · about all of that he wants.· But that's put aside or     ·5· · · Interrogatories to be more specific about what you're
                                              ·6· · · the moment.· Besides those two documents what does he    ·6· · · looking for if I give you more time to do that?
                                              ·7· · · allege we took?· If the answer is none, fine, we'll      ·7· · · · · · · ·MR. LYNCH:· Your Honor, I don't know, if the
                                              ·8· · · move forward.· If it's the inevitable disclosure,        ·8· · · Court was to look at the Interrogatories --
                                              ·9· · · that's got its own failings.· He still has to identify   ·9· · · · · · · ·THE COURT:· I'm looking at them right now.
                                              10· · · what we're inevitably going to disclose with             10· · · · · · · ·MR. LYNCH:· Your Honor is exactly right, can
                                              11· · · particularity.                                           11· · · you target them a little more closely?· The only way I
                                              12· · · · · · · ·THE COURT:· Isn't the preliminary               12· · · can target them is to start with this question:· Tell
                                              13· · · injunction -- I'm sorry, isn't the -- yeah,              13· · · me what your complaint is talking about.· And
                                              14· · · preliminary injunction hearing set on the allegations    14· · · that's -- I mean, what is your complaint talking
                                              15· · · of the taking of the deck and the Excel.                 15· · · about?· Functionally, we included every allegation.
                                              16· · · · · · · ·MR. CYRLUK:· That is what we thought, but       16· · · The reason there is eight on that and two on the
                                              17· · · they say there's more.· They just won't tell us what     17· · · specifics -- there's ten Interrogatories, eight on the
                                              18· · · that more is.                                            18· · · allegations of the complaint that are just keyed up,
                                              19· · · · · · · ·THE COURT:· So in the regular course of         19· · · you know, you say this.· What does that mean?· And we
                                              20· · · discovery this will come to light, yes?                  20· · · did it eight times because I wanted to make sure that
                                              21· · · · · · · ·MR. FARRELL:· Yes.                              21· · · we weren't missing something.· The other two are about
                                              22· · · · · · · ·MR. LYNCH:· Your Honor, I will say, okay, we    22· · · the specific trade secrets that they did allege, and
                                              23· · · had an extensive negotiation about it.                   23· · · that is nine and ten.· And if the Court --
                                              24· · · · · · · ·THE COURT:· I remember.                         24· · · · · · · ·THE COURT:· So is the answer, Mr. Farrell and

                                                                                                   Page 11                                                          Page 13
                                              ·1· · · · · · · ·MR. LYNCH:· That, but, also, even after the     ·1· · · Mr. Cyrluk that you're not sure -- I guess, what are
                                              ·2· · · Court was involved, we had an extensive negotiation      ·2· · · you saying, Mr. Lynch, if they flipped it around and
                                              ·3· · · about how discovery was going to proceed.· And the       ·3· · · said what is a trade secret?
                                              ·4· · · very first thing that I told them in my raft response    ·4· · · · · · · ·MR. LYNCH:· Kind of.· What Farrell said in
                                              ·5· · · to their initial scheduling order was, guys, the first   ·5· · · what he told the Court, as I understood it -- what he
                                              ·6· · · thing I need to know, I have to know what trade          ·6· · · said is, we can't tell you what the trade secrets are
                                              ·7· · · secrets are we talking?· If, your Honor, I can just      ·7· · · until we get a look at Mr. Duffy's devices.· That is
                                              ·8· · · very briefly explain, the discovery that we need to      ·8· · · what he said.
                                              ·9· · · conduct, the discovery that was due today is going to    ·9· · · · · · · ·Now, we submitted a declaration for Mr. Duffy
                                              10· · · be very different depending on what trade secrets they   10· · · that said two things.· Mr. Duffy's declaration in
                                              11· · · claim there are.· So, for example, in the 30-category    11· · · connection with this motion said, number one, I'm the
                                              12· · · list of possible trade secrets they gave us, one of      12· · · founder of Citybase, and I have no idea what they are
                                              13· · · them is about pricing, okay?· If they claim that there   13· · · talking about with trade secrets.· That is number one
                                              14· · · is some pricing information that is a trade secret,      14· · · thing he said.· And the second thing he said is that
                                              15· · · they have to tell me what that is because one of the     15· · · Citybase has robust security measures that can tell
                                              16· · · deposition -- excuse me -- one of the Interrogatories    16· · · them exactly who took what when, and they utilized
                                              17· · · I'm going to ask them is tell me what part of your       17· · · those security procedures.· Mr. Farrell just talked
                                              18· · · pricing structure hasn't already been disclosed in       18· · · about how they used them and they specifically
                                              19· · · public bid packages.· Because in every public bid        19· · · apparently uncovered the e-mail sent, by the way, when
                                              20· · · package -- and that is the only way this company gets    20· · · Mr. Lewis was a Citybase employee of documents to
                                              21· · · business -- they have to make extensive disclosure.      21· · · himself.· We also have established in the TRO papers
                                              22· · · If they say to me, no, Dan, the trade secret is the      22· · · and extensive record that that was entirely permitted,
                                              23· · · technical details of the way our product works, I'll     23· · · the transmitting stuff to your personal devices was
                                              24· · · have a different set of Interrogatories.· I'll be        24· · · not prohibited at Citybase, and they have never said


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                                                                                                                                                                                YVer1f
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 11 of 33 PageID #:431
                                                                       Transcript of Proceedings
                                                                                July 26, 2024
                                                                                                   Page 14                                                          Page 16
                                              ·1· · · otherwise.· Leave that aside, Mr. Farrell just told      ·1· · · and the premise is, we have no trade secrets so in his
                                              ·2· · · the Court they are fully aware of what was taken.        ·2· · · mind his statement is true.· We took no trade secrets
                                              ·3· · · Remember when he was talking about --                    ·3· · · because you have no trade.· We need to know what they
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                              ·4· · · · · · · ·MR. FARRELL:· I said the opposite.              ·4· · · took.
                                              ·5· · · · · · · ·MR. LYNCH:· I'm sorry.· He just said, we have   ·5· · · · · · · ·There is one problem that is a false premise
                                              ·6· · · been busy the last few weeks looking what these other    ·6· · · in this entire conversation, which is that our case is
                                              ·7· · · employees took, and he just said he had some evidence    ·7· · · only about trade secrets under this definition of
                                              ·8· · · that other employees took stuff and shared it with       ·8· · · trade secrets in Illinois.· That is not true, your
                                              ·9· · · Mr. Duffy.· That is essentially what he said.· So what   ·9· · · Honor.· We have other claims in this case.
                                              10· · · is important -- I don't think they can say, we'll tell   10· · · · · · · ·So if you're an executive of a company in
                                              11· · · you what the trade secrets are as soon as you say what   11· · · Illinois or Delaware or anywhere else in this country,
                                              12· · · you have.· And, by the way, they submitted a set of      12· · · as far as I'm aware, you take things with you when you
                                              13· · · Interrogatories that said, what do you have?· We         13· · · leave that you're not entitled to keep, whether it's a
                                              14· · · answered it, none, because Mr. Duffy, who will raise     14· · · trade secret or a stapler, to be frank, you have
                                              15· · · his right hand -- he's on this call.· He will raise      15· · · probably violated some duty to the company, including
                                              16· · · his right hand and tell you I took no trade secrets      16· · · fiduciary duty.
                                              17· · · from Citybase.                                           17· · · · · · · ·THE COURT:· Okay.· Let me just say something.
                                              18· · · · · · · ·THE COURT:· All right.· So a little bit of a    18· · · You know, when you're say identify what trade secrets
                                              19· · · chicken and an egg problem.· Go ahead Mr. Bushofsky.     19· · · you took and then they identify something, then
                                              20· · · · · · · ·MR. BUSHOFSKY:· Sorry to jump in but these,     20· · · they're I guess tasked with making an admission that
                                              21· · · unfortunately, are a little bit of a free-for-all. I     21· · · they were trade secrets, right?· Can you ask the
                                              22· · · haven't been quite as in the weeds on this as Mr.        22· · · question?· Can you propound the Interrogatory in a way
                                              23· · · Farrell, so I hopefully can be a little bit more         23· · · that doesn't include -- that doesn't require them to
                                              24· · · objective -- of course, I'm an advocate, so there is a   24· · · admit that they're -- what documents --

                                                                                                   Page 15                                                          Page 17
                                              ·1· · · limit to that.                                           ·1· · · · · · · ·MR. BUSHOFSKY:· Of course, your Honor, we can
                                              ·2· · · · · · · ·But the conundrum to me and the Catch 22        ·2· · · ask them --
                                              ·3· · · seems to be -- and I'm not going to ascribe anything     ·3· · · · · · · ·THE COURT:· Then you can subsequently make
                                              ·4· · · to opposing counsel.· They're doing their job.· But      ·4· · · the argument that they were trade secrets, right?
                                              ·5· · · we are in a situation where there position is:· Tell     ·5· · · · · · · ·MR. BUSHOFSKY:· Right.· That is the order
                                              ·6· · · us chapter and versus each and every one of your trade   ·6· · · that we think this should go in and that's the
                                              ·7· · · secrets.· This is a big company and there is no rule     ·7· · · opposite of what Counsel is saying.· They're saying
                                              ·8· · · or obligation under your order for us to do that.        ·8· · · tell us all the trade secrets, and we will tell you
                                              ·9· · · What each and every one of our trade secrets --          ·9· · · what we took.· We're saying, tell us what you took,
                                              10· · · · · · · ·THE COURT:· They're not asking for all of the   10· · · and we will tell you whether it's a problem or not.
                                              11· · · trade secrets.· Aren't they asking what trade secrets    11· · · · · · · ·And, your Honor, this can all happen in the
                                              12· · · did he take?                                             12· · · ordinary course.· We can supplement.· We have now
                                              13· · · · · · · ·MR. BUSHOFSKY:· That's the punch line, your     13· · · discovered through our own forensics and through their
                                              14· · · Honor, this is discovery that we're in now.· We don't    14· · · answers and looking at whatever forensic information
                                              15· · · know what they took.· You just heard Mr. Lynch say,      15· · · that they give us regarding personal devices and
                                              16· · · you knew what we took because you say you have the       16· · · whatever we have asked for and whatever we are
                                              17· · · technology to know what we took.· Well, that is one      17· · · entitled to, we can say, ah-ha, we found another trade
                                              18· · · side of the coin.                                        18· · · secret, we're supplementing.· We've found another
                                              19· · · · · · · ·We are entitled to know what they took.· So     19· · · thing, maybe there's a dispute over whether it's a
                                              20· · · we have an affidavit that says -- and the words were     20· · · trade secret or not, but taking that thing violated
                                              21· · · very careful chosen clearly.· Mr. Duffy says that he     21· · · their duties.· This is ordinary course stuff.
                                              22· · · took no trade secrets.· Well, we know from Counsel       22· · · · · · · ·MR. CYRLUK:· Your Honor, may I?· This is
                                              23· · · that they don't believe that we have any trade           23· · · unbelievable.· I take my obligation under Rule 137
                                              24· · · secrets.· So Mr. Duffy could've taken a million things   24· · · seriously and I hope my opponents do too.· They made


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                                                                                                                                                                                YVer1f
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 12 of 33 PageID #:432
                                                                       Transcript of Proceedings
                                                                                July 26, 2024
                                                                                                   Page 18                                                          Page 20
                                              ·1· · · an allegation in paragraph 103 of their complaint and    ·1· · · or sending stuff to their personal devices.· That came
                                              ·2· · · it says -- and this is the Interrogatories Number 2,     ·2· · · up in the complaint.· It came up in the Amberde
                                              ·3· · · we asked them, other than the Excel and the deck,        ·3· · · (phonetic) declaration and it came up most recently in
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                              ·4· · · identify with particularity and in detail all trade      ·4· · · Mr. Farrell's remarks to the Court because he said
                                              ·5· · · secrets of plaintiffs that plaintiffs allege that,       ·5· · · that they have been investigating the things that the
                                              ·6· · · quote -- this is their own complaint:· "Core, Duffy      ·6· · · other employees did after apparently after the TRO
                                              ·7· · · and Lewis are in possession of it through Duffy and      ·7· · · meeting.
                                              ·8· · · Lewis's improper and unlawful extraction thereof from    ·8· · · · · · · ·Mr. Bushofsky would like us to say, here is
                                              ·9· · · plaintiff's systems," as alleged in plaintiff's first    ·9· · · what we have, okay?· Whether they do or don't answer
                                              10· · · amended complaint.· Now I know that doesn't relate to    10· · · this trade secret Interrogatory, whether trade secrets
                                              11· · · inevitable disclosure because inevitable disclosure      11· · · are or are not in this case, that is a question that
                                              12· · · does not talk about doing anything improper.· It says    12· · · he can ask, but it's not going to change what trade
                                              13· · · just by virtue of you working there, you learn certain   13· · · secrets are at issue in the case because the time to
                                              14· · · things that even if you wanted to compartmentalize,      14· · · make a trade secrets claim is in the complaint, and
                                              15· · · you know you didn't take with you necessarily in         15· · · the proof of that is in the pudding.· Because not only
                                              16· · · paper, you saw them and then you inevitably disclosed    16· · · is there this allegation that Mr. Cyrluk just read,
                                              17· · · them.· That is not unlawful and it's not extraction.     17· · · but they know they the obligation to disclose some
                                              18· · · · · · · ·So when they wrote those words, I assume they   18· · · specific trade secret to get the ball rolling in this
                                              19· · · did an investigation.· And so they had something in      19· · · case because they did it when they talked about the
                                              20· · · mind.· And if it's just the deck and Excel, just say     20· · · Excel and the deck.
                                              21· · · so.· But if it's more, now is the time to put up or      21· · · · · · · ·Now, if it turns out that somehow they find
                                              22· · · shut up or they should have never made that              22· · · out in discovery that somehow Mr. Duffy slipped past
                                              23· · · allegation.                                              23· · · their security architecture and took something that
                                              24· · · · · · · ·THE COURT:· It does -- listen, it is the        24· · · they just are stunned that he somehow got his hands

                                                                                                   Page 19                                                          Page 21
                                              ·1· · · allegation made by the plaintiff, so plaintiff should    ·1· · · on, okay, well, then maybe we come back and they say
                                              ·2· · · have to disclose what information supports that          ·2· · · the defendants are playing dirty pool here and the
                                              ·3· · · allegation, right?· Is there a way to revise or          ·3· · · Court will take whatever action they take.· But right
                                              ·4· · · supplement these Interrogatories by taking the word      ·4· · · now all we want to know is what is the complaint
                                              ·5· · · trade secrets out?                                       ·5· · · talking about?· And they refuse to answer it.· And I
                                              ·6· · · · · · · ·MR. LYNCH:· The answer to that would be,        ·6· · · don't know how -- your Honor, there is a tremendous
                                              ·7· · · sure.· In fact, if you look at the Interrogatories, it   ·7· · · amount of material that is out in the public domain,
                                              ·8· · · also in several places talks about so-called             ·8· · · not about this business generally -- of course, there
                                              ·9· · · confidential information.· Also, if they -- I mean,      ·9· · · is -- but about Citybase specifically and the business
                                              10· · · again, we are not talking about -- I'm happy to talk     10· · · it does.· And depending on what they say the trade
                                              11· · · about their Interrogatories to us, but Mr. Bushofsky     11· · · secret that they are worried about Duffy using -- and,
                                              12· · · would like -- Mr. Bushofsky is complaining about their   12· · · remember, in all of these inevitable disclosure cases
                                              13· · · Interrogatories to us, where he says, well, maybe we     13· · · there is specific disclosure, as Mr. Cyrluk said, what
                                              14· · · didn't carefully ask the question because we defined     14· · · is the harm in just forcing them to tell us what they
                                              15· · · it to be confidential information and if they say        15· · · are worried about?
                                              16· · · there is no confidential information, they would say     16· · · · · · · ·THE COURT:· What are you asking me for?
                                              17· · · none.                                                    17· · · · · · · ·MR. LYNCH:· Right now I'm asking you to
                                              18· · · · · · · ·But I'll say to the Court that Mr. Duffy was    18· · · either --
                                              19· · · the founder of Citybase.· He had a laptop.· He worked    19· · · · · · · ·THE COURT:· This isn't a motion to compel,
                                              20· · · there for nine-plus years.· The only computer device     20· · · right, to compel disclosure?· You're asking me to
                                              21· · · he had was owned by Citybase and he left it there when   21· · · compel him -- all right --
                                              22· · · he left.· And Citybase has already established in this   22· · · · · · · ·MR. LYNCH:· The Court asked a great question.
                                              23· · · situation that it has security architecture that         23· · · I can get right to it.
                                              24· · · allows it to tell when employees are downloading stuff   24· · · · · · · ·Right now we are supposed to have a hearing


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                                                                                                                                                                                YVer1f
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 13 of 33 PageID #:433
                                                                       Transcript of Proceedings
                                                                                July 26, 2024
                                                                                                   Page 22                                                          Page 24
                                              ·1· · · on the trade secrets and the other issues on             ·1· · · · · · · ·We are going to keep learning things and
                                              ·2· · · October 23rd.· We had built a schedule that required     ·2· · · they're going to keep learning things in discovery.
                                              ·3· · · them to disclose their trade secrets last Friday so      ·3· · · That is just the nature of discovery.· We will answer
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                              ·4· · · that so I submit trade secret discovery today.· Then     ·4· · · the Interrogatory as best we can based on the
                                              ·5· · · we are going to go off and do additional discovery.      ·5· · · knowledge that we have today.· We know that at least
                                              ·6· · · So, I mean, I don't know.· I think the October 23rd      ·6· · · two trade secrets in our view of what trade secrets
                                              ·7· · · date is in jeopardy because hat date -- because the      ·7· · · are were absconded with by Mr. Lewis, and that is what
                                              ·8· · · discovery schedule is built up to get us to that date    ·8· · · was in our complaint.· That was the nature of our TRO
                                              ·9· · · and they have already used a week that -- they took a    ·9· · · papers.· We believe we'll continue to discover more
                                              10· · · week that they didn't have is my point and, yet, the     10· · · things were taken that we consider to be trade
                                              11· · · Court says by Monday, and I have to draft my discovery   11· · · secrets, and even if they're not trade secrets, it was
                                              12· · · by Wednesday?· I guess I could live with that, but       12· · · a breach of a duty for the people to take them.
                                              13· · · they have to tell me what the trade secrets are before   13· · · · · · · ·THE COURT:· Those people -- is the allegation
                                              14· · · I draft my discovery because the discovery is going to   14· · · that those people were under the direction of Duffy?
                                              15· · · be different depending on what they tell me.             15· · · · · · · ·MR. BUSHOFSKY:· That wouldn't be the
                                              16· · · · · · · ·THE COURT:· I mean, it does seem like,          16· · · allegation and we are not making that allegation yet.
                                              17· · · plaintiff, you're going to have to answer what you       17· · · If they were lured over to the new company by
                                              18· · · know was taken, right?· Why wouldn't you?                18· · · Mr. Duffy or Mr. Lewis and around the same time they
                                              19· · · · · · · ·MR. BUSHOFSKY:· As long as we can               19· · · were downloading a bunch of stuff from their then
                                              20· · · supplement -- here is the problem I think is implicit    20· · · current employer and then they popped up at the new
                                              21· · · in what Counsel has been saying.                         21· · · company a week later, which is the scenario we're
                                              22· · · · · · · ·When he said if we discover through our own     22· · · looking at now with one particular person, then that
                                              23· · · investigation or through the materials we get from       23· · · would support a reasonable inference that they took it
                                              24· · · Mr. Duffy, and, frankly, Mr. Farrell earlier was         24· · · for the new company, which is a defendant in this

                                                                                                   Page 23                                                          Page 25
                                              ·1· · · referring to something in good faith for the Court's     ·1· · · case.
                                              ·2· · · edification and for Counsel to let everyone know we      ·2· · · · · · · ·I don't want to get too far into the weeds,
                                              ·3· · · are still investigating this.· There are -- as far as    ·3· · · but I wanted to give your Honor an idea of what we are
                                              ·4· · · we know -- more and more people jumping ship and going   ·4· · · arguing about here.· We have answered the
                                              ·5· · · over to Mr. Duffy's new business.· We have reason to     ·5· · · Interrogatories.· We will supplement them.· We can
                                              ·6· · · believe -- and this is work product, your Honor.· We     ·6· · · supplement them tomorrow with the most up-to-date
                                              ·7· · · are in the middle of it.· I can't make a specific        ·7· · · information that we have.
                                              ·8· · · representation that a particular person took a           ·8· · · · · · · ·THE COURT:· I think you should do that.
                                              ·9· · · particular thing and that it was a trade secret.· I'm    ·9· · · · · · · ·All right.· Let me hear from Mr. Cyrluk.
                                              10· · · not doing that right now just to be clear.               10· · · · · · · ·MR. CYRLUK:· I appreciate that but the
                                              11· · · · · · · ·What I'm saying is we are seeing smoke around   11· · · Interrogatories -- the rules, A, allow you to somewhat
                                              12· · · other people who were recruited away from my client to   12· · · keep your finger on the check.· You always have a duty
                                              13· · · Mr. Duffy's new employer who took things, downloaded     13· · · to supplement information you learn.· If there was any
                                              14· · · things to their own personal devices --                  14· · · doubt in every answer that Euna -- that plaintiffs
                                              15· · · · · · · ·THE COURT:· Is that part of your complaint?     15· · · answer every single one of them, the very last
                                              16· · · · · · · ·MR. BUSHOFSKY:· No, it's something we learned   16· · · sentence of every Interrogatory says:· Euna reserves
                                              17· · · within the past few days.                                17· · · the right to revise, supplement or clarify this
                                              18· · · · · · · ·THE COURT:· Go ahead.                           18· · · response based on any facts, documents, evidence or
                                              19· · · · · · · ·MR. BUSHOFSKY:· We want to be able to           19· · · other contentions that may develop or come to Euna's
                                              20· · · supplement and at some point before the preliminary      20· · · attention at a later date.
                                              21· · · injunction hearing, as a practical matter, I agree       21· · · · · · · ·They have already kept their finger on the
                                              22· · · that the door should probably close so that we go to     22· · · checker.· The Interrogatories that were due last
                                              23· · · this mini trial on a particular set of facts.· There     23· · · Friday asked them as of today, as of this writing,
                                              24· · · is no question about that.                               24· · · tell us everything that you put in your complaint that


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                                                                                                                                                                                YVer1f
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 14 of 33 PageID #:434
                                                                       Transcript of Proceedings
                                                                                July 26, 2024
                                                                                                   Page 26                                                          Page 28
                                              ·1· · · you believe that Mr. Duffy and Mr. Lewis -- they love    ·1· · · · · · · ·MR. LYNCH:· September 16th the Court's
                                              ·2· · · their adjectives and adverbs, legally absconded, et      ·2· · · already --
                                              ·3· · · cetera.· But tell us -- as of last Friday they should    ·3· · · · · · · ·THE COURT:· That's just to see that things
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                              ·4· · · have been able to tell us besides the deck and Excel     ·4· · · were moving along, right?
                                              ·5· · · it's these four pieces of paper.                         ·5· · · · · · · ·MR. LYNCH:· That and also there's a motion to
                                              ·6· · · · · · · ·THE COURT:· Right.                              ·6· · · dismiss that will be fully briefed and ready for your
                                              ·7· · · · · · · ·MR. CYRLUK:· And if the answer is none,         ·7· · · Honor to rule on September 16th.
                                              ·8· · · great.· And if they discover something later on, they    ·8· · · · · · · ·THE COURT:· That's a Monday, I'm surprised I
                                              ·9· · · have a duty to seasonably supplement; that's the         ·9· · · put it on Monday.
                                              10· · · rules.                                                   10· · · · · · · ·MR. BUSHOFSKY:· Your Honor, while you're
                                              11· · · · · · · ·THE COURT:· Right.· Listen, I have a 9:30       11· · · doing housekeeping, if you want to move that --
                                              12· · · call that I'm late for so let's try and figure this      12· · · · · · · ·THE COURT:· Let's do that.
                                              13· · · out.                                                     13· · · · · · · ·MR. LYNCH:· Respectfully, your Honor, that is
                                              14· · · · · · · ·Would it make sense to allow plaintiffs a       14· · · a date that there is no reason to move that.
                                              15· · · week to supplement their responses with the              15· · · · · · · ·THE COURT:· Except that for me there is.
                                              16· · · information that you're seeking, Mr. Lynch?              16· · · Just because I know that this is going to take a lot
                                              17· · · · · · · ·MR. LYNCH:· So sure, but that means the         17· · · of time.· I'd be happier doing it on the 18th, if you
                                              18· · · entire schedule is new.                                  18· · · guys are happy with the 18th?
                                              19· · · · · · · ·THE COURT:· Is it really?· How?                 19· · · · · · · ·MR. LYNCH:· September 18th is fine.
                                              20· · · · · · · ·MR. LYNCH:· Respectfully it is, your Honor,     20· · · · · · · ·THE COURT:· Again, at 1 o'clock?
                                              21· · · because we had --                                        21· · · · · · · ·MR. LYNCH:· That's fine.
                                              22· · · · · · · ·THE COURT:· What do you need from me?           22· · · · · · · ·THE COURT:· Let's do that.· Does that work
                                              23· · · · · · · ·MR. LYNCH:· They want depositions, right?       23· · · Alex or Ali, whoever has got the book?
                                              24· · · You know, presumably when you prepare witnesses for      24· · · · · · · ·CLERK ALI:· Yes, that works, Judge.

                                                                                                   Page 27                                                          Page 29
                                              ·1· · · deposition you get to say, here is what the plaintiffs   ·1· · · · · · · ·THE COURT:· Okay, thank you, Ali.· So let's
                                              ·2· · · are alleging.· Do you know anything about that?· So I    ·2· · · move it to that Wednesday and then at least I'll have
                                              ·3· · · can't really start doing any work on this case to get    ·3· · · a couple of -- so this is two motions to dismiss and
                                              ·4· · · people --                                                ·4· · · then a hearing and status on discovery, right?· The
                                              ·5· · · · · · · ·THE COURT:· So what is the date of the          ·5· · · company valuation, is that also --
                                              ·6· · · hearing that we have?                                    ·6· · · · · · · ·MR. BUSHOFSKY:· I think that has been
                                              ·7· · · · · · · ·MR. LYNCH:· October 23rd.                       ·7· · · resolved.
                                              ·8· · · · · · · ·MR. BUSHOFSKY:· Your Honor, for the record,     ·8· · · · · · · ·THE COURT:· Okay, good, I'll take that out.
                                              ·9· · · our position -- the plaintiff's position is October      ·9· · · Okay, good.· So then --
                                              10· · · 23rd was picked because of your Honor's schedule and     10· · · · · · · ·MR. LYNCH:· That issue has not been resolved
                                              11· · · because of Counsel's schedule.· It's not because that    11· · · unless they just want to cave.
                                              12· · · is the bare minimum amount of time that was needed to    12· · · · · · · ·MR. BUSHOFSKY:· I'm sorry, I thought we had
                                              13· · · conduct discovery.· A week here and there should not     13· · · come to an agreement on that.
                                              14· · · derail the hearing date.                                 14· · · · · · · ·MR. LYNCH:· That issue has not been resolved.
                                              15· · · · · · · ·THE COURT:· If you want to put it over a        15· · · I mean I'm happy if it has been resolved because that
                                              16· · · week, I can put it over a week.· We can do it            16· · · means they are withdrawing their motion.
                                              17· · · October 30th and the 31st and November 1st, if you       17· · · · · · · ·MR. BUSHOFSKY:· What happened last time, your
                                              18· · · want to do that?                                         18· · · Honor, is they -- in response to your reasonable
                                              19· · · · · · · ·MR. LYNCH:· That would be fine, your Honor.     19· · · request, they agreed to leave that steel indefinitely
                                              20· · · · · · · ·THE COURT:· You all want to do that?· It's a    20· · · because we are talking about months from now they want
                                              21· · · Thursday and Friday the next week.· Why do I feel like   21· · · some answer on that --
                                              22· · · I have something in here for -- do we have a status in   22· · · · · · · ·THE COURT:· Can we agreed to keep that sealed
                                              23· · · September?                                               23· · · Mr. Lynch?
                                              24· · · · · · · ·MR. FARRELL:· We do, your Honor.                24· · · · · · · ·MR. LYNCH:· That was another one of the


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                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 15 of 33 PageID #:435
                                                                       Transcript of Proceedings
                                                                                July 26, 2024
                                                                                                   Page 30                                                          Page 32
                                              ·1· · · motions that the Court set for September 16.             ·1· · · we will do our damndest, excuse the language, to get
                                              ·2· · · Certainly it can be sealed until then if that's what     ·2· · · that to a place where that can be part of the
                                              ·3· · · they want.· But the idea that we're just going to        ·3· · · supplement.· If we determine in good faith that the
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                              ·4· · · perpetually seal stuff that makes no sense to seal       ·4· · · thing that I was talking about, which does not involve
                                              ·5· · · is --                                                    ·5· · · Mr. Lewis or Mr. Duffy individually but relates to one
                                              ·6· · · · · · · ·THE COURT:· Is that motion going to be          ·6· · · of the other relatively high-level employees who moved
                                              ·7· · · briefed?                                                 ·7· · · to the defendant, that will be part of our
                                              ·8· · · · · · · ·MR. LYNCH:· It has briefed, I believe.          ·8· · · supplementation if we've got it.
                                              ·9· · · · · · · ·THE COURT:· Then I'll here it on that day on    ·9· · · · · · · ·MR. LYNCH:· Let me say this, your Honor, they
                                              10· · · the 18th.· So let's move everything that was on the      10· · · are trying to take a series of depositions of people.
                                              11· · · 16th let's move it to the 18th at 1:00, okay?· Let's     11· · · I don't think it's fair for us to have to present
                                              12· · · do that.· And then so we are going to move this          12· · · anybody for deposition and then later find out that
                                              13· · · hearing, the preliminary injunction hearing, by a        13· · · they are going to tell us that so and so did what
                                              14· · · week; is that right?                                     14· · · Mr. Lewis did and while they were an employee sent an
                                              15· · · · · · · ·MR. BUSHOFSKY:· So we are talking about         15· · · e-mail to themselves.
                                              16· · · Halloween and the Day of the Dead.                       16· · · · · · · ·MR. BUSHOFSKY:· Your Honor, that's --
                                              17· · · · · · · ·THE COURT:· That's right.· Is that              17· · · · · · · ·THE COURT:· Wait, listen, listen, let's give
                                              18· · · appropriate?                                             18· · · them an opportunity to supplement the discovery.· I'm
                                              19· · · · · · · ·MR. FARRELL:· We'll come in costume, your       19· · · not going to start jumping into hypotheticals right
                                              20· · · Honor.                                                   20· · · now.· We don't have those facts.· Take a week,
                                              21· · · · · · · ·THE COURT:· All right.· Wouldn't that be        21· · · supplement the discovery.· If there are still problems
                                              22· · · funny.                                                   22· · · I guess come back but, you know, I don't know what
                                              23· · · · · · · ·MR. FARRELL:· Your Honor, we will supplement    23· · · else to tell you.
                                              24· · · the responses as I hope all parties will do.· What I     24· · · · · · · ·MR. BUSHOFSKY:· Your Honor, just one thing on

                                                                                                   Page 31                                                          Page 33
                                              ·1· · · suggested at the beginning of this:· If either party     ·1· · · the depositions, this is not unique for this case in
                                              ·2· · · has an issue and needs to propound additional            ·2· · · any way.· No one in this Court, as far as I'm aware,
                                              ·3· · · discovery based on supplemented discovery responses,     ·3· · · is entitled to have all paper discovery done before
                                              ·4· · · I'd be happy to propose amending the schedule to allow   ·4· · · any percipient fact witness can be deposed.· It's
                                              ·5· · · the parties to do that.                                  ·5· · · really my disadvantage and my problem if I chose to
                                              ·6· · · · · · · ·THE COURT:· Do you even want to set a date?     ·6· · · take someone's deposition, and I don't have all of
                                              ·7· · · I mean, it's best to lock things in but if this is       ·7· · · those person's documents yet, and that's a strategic
                                              ·8· · · going to keep happening.                                 ·8· · · decision.· If I want to take -- sometimes plaintiff's
                                              ·9· · · · · · · ·MR. BUSHOFSKY:· No.· We want Halloween, your    ·9· · · lawyers take a CEO's deposition on the first day.
                                              10· · · Honor, as the date and we'll live with it.· Even that    10· · · Certainly no paper has been exchanged but they want to
                                              11· · · means that Mr. Lynch and his colleagues get to put a     11· · · catch he or she flatfooted and show they don't know
                                              12· · · stake in our claims and we have to go in on Halloween    12· · · anything about these supposedly important issues.· It
                                              13· · · with fewer than all of our potential claims, that is     13· · · happens all the time.· We are not going to take
                                              14· · · the breaks, I guess, but we'll do what we can in         14· · · depositions to harass people or take them early to do
                                              15· · · discovery until then.                                    15· · · any sort of "got you" because we are not going to pull
                                              16· · · · · · · ·MR. LYNCH:· Just to be clear, today's order     16· · · out something at a deposition that we should have
                                              17· · · is going to reflect that within a week they are going    17· · · given to Mr. Lynch in discovery before the deposition.
                                              18· · · to give us actual answers to the Interrogatories that    18· · · But if I choose, your Honor, to take someone's
                                              19· · · we submitted to them already?                            19· · · deposition tomorrow before I've gotten one piece of
                                              20· · · · · · · ·MR. BUSHOFSKY:· We said we're going to          20· · · paper from Mr. Lynch, that may be stupid on my part,
                                              21· · · supplement, your Honor, and here's a representation      21· · · that might not be serving my client that well in his
                                              22· · · I'll make for the record:                                22· · · view, but that's my problem not his problem.· He has
                                              23· · · · · · · ·These things that I alluded to that we are      23· · · the information.
                                              24· · · investigating, we are in the middle of investigating,    24· · · · · · · ·THE COURT:· All right.· I'm shutting this


                                                                    U.S. Legal Support | www.uslegalsupport.com                                              30 to 33
                                                                                                                                                                                YVer1f
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 16 of 33 PageID #:436
                                                                       Transcript of Proceedings
                                                                                July 26, 2024
                                                                                                     Page 34
                                              ·1· · · down, guys, because you guys get on the phone with
                                              ·2· · · each other if you want to fight with each other.· We
                                              ·3· · · made a decision, you're going to supplement within a
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                              ·4· · · week and follow the schedule if you want to shift
                                              ·5· · · everything by one week, then that is fine.· Do that in
                                              ·6· · · the schedule and put it in an order and we'll come
                                              ·7· · · back in September and have a hearing on those motions,
                                              ·8· · · okay?
                                              ·9· · · · · · · ·MR. LYNCH:· Thank you, your Honor.
                                              10· · · · · · · ·MR. FARRELL:· Thank you, Judge.
                                              11· · · · · · · ·MR. CYRLUK:· Thank you.
                                              12· · · · · · · · · · · · ·(Whereupon, at 9:51 a.m. an
                                              13· · · · · · · · · · · · · adjournment was taken.)
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                                              ·1· · · STATE OF ILLINOIS· )
                                              · · · · · · · · · · · · · ·)· SS:
                                              ·2· · · COUNTY OF C O O K· )
                                              ·3
                                              ·4
                                              ·5· · · · · · · ·Linda A. Barger, being first duly sworn on
                                              ·6· · · oath says that she is a court reporter doing business
                                              ·7· · · in the City of Chicago; that she reported in shorthand
                                              ·8· · · the proceedings given at the taking of said hearing
                                              ·9· · · and that the foregoing is a true and correct
                                              10· · · transcript of her shorthand notes so taken as
                                              11· · · aforesaid and contains all the proceedings given at
                                              12· · · said hearing.
                                              13
                                              14
                                              15
                                              · · · · · · · · · · · Linda A. Barger, CSR
                                              16· · · · · · · · · · License No.:· 084-004442
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                                                                      U.S. Legal Support | www.uslegalsupport.com       34 to 35
                                                                                                                                   YVer1f
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 17 of 33 PageID #:437
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                                                                                     Exhibit 2
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 18 of 33 PageID #:438
FILED DATE: 8/8/2024 11:30 AM 2024CH04952
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 19 of 33 PageID #:439
FILED DATE: 8/8/2024 11:30 AM 2024CH04952
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 20 of 33 PageID #:440
FILED DATE: 8/8/2024 11:30 AM 2024CH04952
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 21 of 33 PageID #:441
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                                                                                     Exhibit 3
                                                                        REDACTED VERSION FILED
                                            Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 22 of 33 PageID #:442
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                                                                                     Exhibit 4
                                                  Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 23 of 33 PageID #:443


                                                 Cited
                                            As of: August 6, 2024 6:06 PM Z


                                                                Nav Consulting, Inc. v. Sudrania Fund Servs. Corp.
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                                                              Appellate Court of Illinois, First District, Fourth Division
                                                                                                 May 4, 2023, Filed
                                                                                                    No. 1-21-1015

                                            Reporter
                                            2023 IL App (1st) 211015-U *; 2023 Ill. App. Unpub. LEXIS 661 **; 2023 WL 3244785

                                            NAV CONSULTING, INC., Plaintiff-Appellant, v. SUDRANIA FUND SERVICES CORPORATION and NILESH
                                            SUDRANIA, Defendants-Appellees.

                                            Notice: THIS ORDER WAS FILED UNDER SUPREME COURT RULE 23 AND MAY NOT BE CITED AS
                                            PRECEDENT BY ANY PARTY EXCEPT IN THE LIMITED CIRCUMSTANCES ALLOWED UNDER RULE 23(e)(1).

                                            Prior History: [**1] Appeal from the Circuit Court of Cook County. No. 20 CH 5198. Honorable David B. Atkins,
                                            Judge, Presiding.

                                            Disposition: Affirmed.

                                            Core Terms
                                            trade secret, customers, employees, amended complaint, misappropriation, allegations, confidential, tortious
                                            interference, secret, trade secret information, counts, preempted, cause of action, disclosure, solicited, trial court,
                                            disposed, induced, terms, confidential information, motion to dismiss, economic value, pricing, secrecy, hiring,
                                            misappropriation of trade secrets, resulting damage, improper means, competitor, processes

                                            Judges: JUSTICE MARTIN delivered the judgment of the court. Presiding Justice Lampkin and Justice Rochford
                                            concurred in the judgment.

                                            Opinion by: MARTIN

                                            Opinion


                                            ORDER

                                             [*P1] Held: (1) Dismissal of tortious interference with a contract claim affirmed as plaintiff failed to plead resulting
                                            damages and the claim is otherwise preempted by the Illinois Trade Secrets Act. (2) Dismissal of trade secret
                                            misappropriation claim affirmed when plaintiff made insufficient allegations that it has protectable trade secrets, that
                                            any trade secret was acquired by improper means, or that any trade secret was being used or would be inevitably
                                            disclosed. (3) Dismissal with prejudice affirmed when plaintiff failed to tender proposed amended complaint and had
                                            prior opportunity to replead.

                                             [*P2] Plaintiff, NAV Consulting, Inc. (NAV), sued a former NAV employee, Nilesh Sudrania, and the company he
                                            started, Sudrania Fund Services Corporation (SFS) (collectively, defendants), alleging that they were competing
                                            unfairly. NAV's initial complaint included claims of tortious interference with a contract, trademark infringement,
                                            unfair competition, [**2] and deceptive trade practices. NAV later filed an amended complaint, adding claims of
                                            trade secret misappropriation and civil conspiracy. The circuit court dismissed three counts of NAV's amended
                                                   Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 24 of 33 PageID #:444
                                                                                                                                                             Page 2 of 11
                                                                 2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **2

                                            complaint pursuant to the defendants' motion to dismiss. After voluntarily dismissing the remaining counts, NAV
                                            appealed.1
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            [*P3] I. BACKGROUND

                                             [*P4] NAV provides accounting services for hedge funds.2 The company has a contract with Back Office, a
                                            company located in Jaipur, India, to perform certain accounting tasks.

                                             [*P5] Sudrania began working for NAV in 2001. Through the training and experience he received from NAV,
                                            Sudrania became well-versed in the hedge fund accounting industry. NAV promoted him to head a department and
                                            considered him a "key employee." Through his 15-year tenure with the firm, Sudrania is, according to NAV,
                                            "intimately familiar with NAV proprietary, confidential, or trade secret information."

                                             [*P6] Sudrania resigned from NAV in 2015 and started his own hedge fund accounting business, SFS, in 2016.
                                            Like NAV, SFS contracts with an Indian company, Sudrania Software LLP (SSLLP), for certain accounting tasks.3
                                            According to NAV's amended complaint, "as of early 2020, Sudrania ***[had] [**3] established a business to
                                            compete with NAV by replicating the business model and structure NAV utilizes using NAV *** proprietary,
                                            confidential, or trade secret information."

                                             [*P7] In the Spring of 2020, SFS hired Amit Arora, a NAV senior account manager, who also had a lengthy tenure
                                            at the company. Two years before he left NAV, Arora signed an employment contract that contained several
                                            noncompetition provisions, imposing certain restrictions if he were to leave the company. Among other restrictions,
                                            the contract barred Arora from working, in any capacity, for any entity that provides hedge fund accounting services
                                            for a period of two years. The contract also barred Arora from soliciting any NAV client for two years.

                                            [*P8] Apart from Arora's departure to SFS, three employees, Ravi Kant Modi, Abhay Sharma, and Shubham
                                            Godha, resigned from Back Office and went to work for SSLLP in Spring 2020.

                                             [*P9] NAV's initial complaint asserted four claims against Sudrania and SFS. The defendants filed a motion to
                                            dismiss and, by agreement, NAV later filed a verified amended complaint. NAV's amended complaint asserted six
                                            counts: (1) tortious interference with Arora's employment contract, (2) trade secret misappropriation, [**4] (3) civil
                                            conspiracy, (4) trademark infringement, (5) unfair competition, and (6) a violation of the Uniform Deceptive Trade
                                            Practices Act (815 ILCS 510/1 et seq. (West 2020)). We describe only the first two, as they are the counts at issue
                                            in this appeal.4

                                             [*P10] NAV claimed that, by hiring Arora, the defendants intentionally induced him to breach his employment
                                            contract with NAV. Arora's contract prohibited him from working for a competitor like SFS and his employment with
                                            SFS "encourag[es] him to use and disclose NAV proprietary, confidential, or trade secret information." NAV claims


                                            1 In adherence with the requirements of Illinois Supreme Court Rule 352(a) (eff. July 1, 2018), this appeal has been resolved

                                            without oral argument upon the entry of a separate written order.

                                            2 "A hedge fund is a limited partnership of private investors whose money is managed by professional fund managers who use a

                                            wide range of strategies, including leveraging or trading of non-traditional assets, to earn above-average investment returns.
                                            Hedge fund investment is often considered a risky alternative investment choice and usually requires a high minimum
                                            investment or net worth, often targeting wealthy clients." Investopedia, What is a Hedge Fund? (visited April 21, 2023)
                                            <investopedia.com/terms/h/hedgefund.asp> .
                                            3 Neither Back Office nor SSLLP are parties to this suit. The record indicates litigation is ongoing between the two companies in

                                            India regarding former Back Office employees working for SSLLP.

                                            4 NAV advances no argument on appeal regarding the dismissal of its civil conspiracy claim. Points not argued in an appellant's

                                            initial brief are forfeited. Crawford v. Schmidt (In re Estate of Crawford), 2019 IL App (1st) 182703, ¶ 22, 444 Ill. Dec. 72, 163
                                            N.E.3d 197 (citing Ill. S. Ct. R. 341(h)(7) (eff. May 25, 2018)).
                                                  Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 25 of 33 PageID #:445
                                                                                                                                                       Page 3 of 11
                                                               2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **4

                                            "on information and belief" that Arora breached his employment contract with NAV by accepting employment with a
                                            direct competitor and that Arora is using and disclosing NAV's confidential information. NAV states that it does not
                                            know the full scope of Arora's breach, "in part because information concerning the same is in the possession of
                                            Arora and Defendants." Nevertheless, NAV alleges that Arora has used NAV's confidential pricing and profit margin
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            information to solicit existing NAV customers.

                                             [*P11] In its misappropriation claim, NAV set forth a nine-point "unlimited" list of what it labeled "NAV Trade Secret
                                            Information." The list read as follows:

                                                "a. information regarding [**5] NAV's existing customers, including (i) the nature of the services NAV provides
                                                the customers; (ii) the projected duration of NAV's relationship with the customers; (iii) the contract status of
                                                NAV's customers, including expiration dates; (iv) the needs of NAV's customers and prospects for NAV to
                                                expand its business with those customers; (v) new markets or new domiciles where NAV's existing customers
                                                plan to do business; (vi) key contacts within customer organization; and (vii) what terms in NAV's customer
                                                contracts are negotiable and which terms are not, as well as historical information regarding customer contract
                                                negotiation;
                                                b. information regarding pricing of NAV's products and services, including (i) NAV's profit margins; (ii) NAV's
                                                break-even prices; (iii) NAV's pricing philosophy and practices; and (iv) NAV's historical and strategic pricing,
                                                including but not limited to the pricing knowledge Arora used when he solicited NAV's existing customers while
                                                he was working for SFS;

                                                c. information regarding the processes and controls NAV employs in servicing its customers, including process
                                                measures, additional steps, algorithms, rules, formulas, tools, checks, checklists, and procedures [**6] aimed
                                                at increasing efficiency, preventing errors, ensuring integrity of the final product or detecting and preventing
                                                fraud (collectively, "Controls");
                                                d. information regarding process Controls, including but not limited to those known and used by Modi as an
                                                Executive Manager in Fund Accounting at Back Office;
                                                e. information regarding specialized Controls involving complex accounts, including but not limited to those
                                                used by Sharma as a Senior Accounts Executive in the Portfolio Services department at Back Office;
                                                f. information regarding Controls pertaining to monthly fee calculations, including but not limited to those known
                                                and used by Godha as a Senior Accounts Executive in the Monthly Team in the Fund Accounting Department
                                                at Back Office;

                                                g. information regarding plans for expansion of NAV's product and service offerings, including (i) the
                                                identification of new areas of business for NAV; (ii) the identification of opportunities to fill gaps in NAV's list of
                                                products and service offerings; (iii) the status of NAV's consideration or action toward business expansion; (iv)
                                                contemplated strategic partnering within industry; and (v) identification of terms with proposed or actual
                                                vendors [**7] for work in new product and service offerings;
                                                h. information regarding processes, training and know-how required for handling a higher volume of clients per
                                                account manager than anywhere else in the industry; and
                                                i. information regarding NAV's prospective customers (such as fund managers and investors) and parties which
                                                are in the sphere of influence of potential customers (such as attorneys, accountants and brokers), which
                                                information includes the name, contact information, date or dates of contact, the outcome of such contacts and
                                                next steps to take in order to procure the new business."

                                             [*P12] NAV asserted that its trade secret information "is sufficiently secret such that NAV derives economic value,
                                            either actual or potential, for it not being generally known to other persons, such as SFS or SSLLP, who can obtain
                                            economic value from its disclosure or use." The company maintains the confidentiality of its information by various
                                            means. Employees, customers, and vendors are required to sign confidentiality agreements. Computer networks
                                            are password protected and employees can access only the portions of NAV's systems that are necessary for their
                                            duties. In addition, NAV's computers lack ports [**8] that could be used to download data to an external device. By
                                            company policy, employees are prohibited from sending confidential information by electronic mail to personal
                                            accounts or other parties without prior management approval. During the COVID-19 pandemic, NAV implemented
                                                  Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 26 of 33 PageID #:446
                                                                                                                                                    Page 4 of 11
                                                               2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **8

                                            measures to protect its information while employees worked from home. NAV also requires Back Office and its
                                            employees to abide by similar measures.

                                             [*P13] According to NAV, by SFS hiring Arora and SSLLP hiring Modi, Sharma, and Godha, the defendants
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            induced each of them to breach their confidential relationships with NAV and, thereby, improperly acquired NAV's
                                            trade secret information. Regarding each of the four employees, NAV alleges "[o]n information and belief," that their
                                            employment with SFS or SSLLP "creates the likelihood of the inevitable disclosure and use of NAV Trade Secret
                                            Information in SFS's business insofar as he occupies a position in which a person would customarily rely on and
                                            could not help but use the information." Further, NAV claims that, "[d]uring 2020[,] Arora has used NAV Trade
                                            Secret Information in soliciting new business for SFS from existing NAV customers." Similarly, NAV claims that
                                            Modi [**9] "has used NAV Trade Secret Information to apply processes and controls related for customers to whom
                                            SFS is offering cryptocurrency-related fund services." Finally, NAV alleges that it has been injured by use of its
                                            trade secret information and will be injured further by inevitable disclosure of such trade secret information.

                                             [*P14] The defendants filed a motion to dismiss the first three counts of NAV's amended complaint pursuant to
                                            sections 2-615 and 2-619 of the Code of Civil Procedure (735 ILCS 5/2-615, 2-619 (West 2020)). Defendants
                                            argued, inter alia, that (1) the tortious interference with a contract and civil conspiracy claims were preempted by
                                            the Illinois Trade Secrets Act (ITSA) (765 ILCS 1065/1 et seq.), (2) NAV lacked standing to assert claims related to
                                            Back Office's former employees, and (3) NAV failed to allege sufficient facts that the defendants misappropriated
                                            NAV trade secrets, including identifying specific trade secrets or stating how such trade secrets were obtained by
                                            improper means. In addition, the defendants noted that NAV's amended complaint merely listed broad categories of
                                            claimed trade secrets and failed to allege how any such information was taken, such as by downloading computer
                                            files.

                                             [*P15] NAV argued that it properly stated a claim for trade secret misappropriation by alleging that the [**10]
                                            defendants induced Arora and three Back Office employees to breach their duties of confidentiality with NAV.
                                            Specifically, NAV alleged that Sudrania knew (1) that those employees were privy to NAV's confidential information
                                            and (2) had confidentiality agreements with NAV. See 765 ILCS 1065/2(b) (West 2020) (defining "misappropriation"
                                            as "acquisition of a trade secret of a person by another person who knows or has reason to know that the trade
                                            secret was acquired by improper means."). NAV further alleged that SFS recruited those employees and hired them
                                            into positions at SFS or SSLLP in which they would inevitably disclose NAV's confidential information. Thus, NAV
                                            contends that its amended complaint sufficiently pled that the defendants misappropriated NAV's information by
                                            acquiring it through the improper means of inducing Arora, Modi, Sharma, and Godha to breach their confidential
                                            relationships with NAV. See Id. § 1065/2(a) (defining "improper means" are "theft, bribery, misrepresentation,
                                            breach or inducement of a breach of a confidential relationship or other duty to maintain secrecy or limit use, or
                                            espionage through electronic or other means."). NAV's response relied on the inevitable disclosure doctrine, [**11]
                                            which enables a plaintiff to state an actionable claim under ITSA based on allegations that the defendant would
                                            inevitably rely on the plaintiff's secrets, rather than alleging actual disclosure or use of trade secrets. See Strata
                                            Marketing, Inc. v. Murphy, 317 Ill. App. 3d 1054, 1070, 740 N.E.2d 1166, 251 Ill. Dec. 595 (2000) (recognizing the
                                            inevitable disclosure doctrine to establish a cognizable claim of trade secret misappropriation).

                                             [*P16] On June 23, 2021, the trial court entered a written order granting the defendants' motion and dismissed
                                            counts I through III with prejudice. The court found that the harm asserted in the tortious interference with a contract
                                            and civil conspiracy claims was based on misappropriation of alleged trade secrets, and thus preempted by ITSA.
                                            In addition, the court found the noncompetition terms of Arora's employment contract were unenforceable as a
                                            matter of law. Specifically, the court found that the terms were overly broad, as it prohibited Arora from working for
                                            any entity that provides hedge fund accounting services in any capacity, worldwide. As to the misappropriation
                                            claim, the court found that NAV lacked standing to assert any rights that Back Office may have regarding its former
                                            employees and merely alleged "on information and belief" that SFS conspired [**12] with SSLLP to induce Back
                                            Office employees to leave. Additionally, the court found NAV's allegations insufficient as NAV failed to specify (1)
                                            the trade secrets the employees possessed, (2) whether noncompetition agreements restricted the Back Office
                                            employees, (3) how Back Office protects trade secrets, and (4) whether the Back Office employees owed NAV a
                                            duty of confidentiality.
                                                   Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 27 of 33 PageID #:447
                                                                                                                                                       Page 5 of 11
                                                               2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **12

                                             [*P17] Subsequently, NAV voluntarily dismissed the remaining counts (IV through VI) of the amended complaint
                                            by order entered on July 21, 2021. NAV filed a notice of appeal from the June 23 order on August 18, 2021.
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            [*P18] II. ANALYSIS


                                            [*P19] A. Appellate Jurisdiction

                                             [*P20] As a threshold matter, we consider our jurisdiction to review the circuit court's dismissal of three counts of
                                            NAV's six-count complaint. We have an independent duty to examine our jurisdiction even if the parties do not raise
                                            the issue. In re Marriage of Padilla and Kowalski, 2022 IL App (1st) 200815, ¶ 16. The Illinois Constitution of 1970
                                            grants the appellate court jurisdiction to review final judgments entered in the circuit court. Ill. Const. 1970, art. VI, §
                                            6; Johnson v. Armstrong, 2022 IL 127942, ¶ 19. An order is final, even when it disposes of less than all claims
                                            asserted in the pleadings, if the order "'disposes of the rights of the parties, either upon the entire controversy or
                                            upon some [**13] definite and separate part thereof.'" Id. ¶ 21 (quoting Blumenthal v. Brewer, 2016 IL 118781, ¶
                                            25, 410 Ill. Dec. 289, 69 N.E.3d 834). An order disposing of fewer than all claims, though final, is not appealable
                                            unless the circuit court makes a special finding pursuant to Illinois Supreme Court Rule 304(a) (eff. Mar. 8, 2016)
                                            that no just cause exists to delay appeal or enforce the judgment.

                                             [*P21] Here, the circuit court's June 23 order disposed of three of NAV's counts while three others remained
                                            pending. The court did not make a Rule 304(a) special finding. On July 21, the court granted NAV's motion to
                                            voluntarily dismiss the remaining three counts. NAV filed its notice of appeal from the June 23 order on August 18.

                                             [*P22] The June 23 order dismissing NAV's counts I through III with prejudice was a final order since it disposed of
                                            the rights of the parties upon a definitive and separate part of the action. Cf. Dinerstein v. Evanston Ath. Clubs, Inc.,
                                            2016 IL App (1st) 153388, ¶ 19-20, 408 Ill. Dec. 47, 64 N.E.3d 1132 (finding that an order dismissing one count of
                                            a three-count complaint on the merits pursuant to section 2-619 was final when the other two counts were later
                                            voluntarily dismissed). Without a Rule 304(a) finding, however, the June 23 order was not appealable as it did not
                                            dispose of the entire case. When an order of voluntary dismissal terminates an action in its entirety, all orders final
                                            in nature, though not previously appealable, become [**14] immediately final and appealable. Dubina v. Mesirow
                                            Realty Development, Inc., 178 Ill. 2d 496, 503, 687 N.E.2d 871, 227 Ill. Dec. 389 (1997). The June 23 order,
                                            therefore, only became appealable upon entry of the order of voluntary dismissal on July 21, disposing of all
                                            remaining claims. Accordingly, NAV filed a notice of appeal within the required 30 days after entry of the order that
                                            made the June 23 order appealable. See Secura Insurance Co. v. Illinois Farmers Insurance Co., 232 Ill. 2d 209,
                                            213, 902 N.E.2d 662, 327 Ill. Dec. 541 (2009) ("The timely filing of a notice of appeal is both jurisdictional and
                                            mandatory."); Ill. S. Ct. R. 303(a)(1) (eff. Jul. 1, 2017) (providing a 30-day period from the entry of final judgment to
                                            file notice of appeal). Thus, we have jurisdiction to review the June 23 order.


                                            [*P23] B. Standard of Review

                                             [*P24] The defendants filed a motion to dismiss pursuant to section 2-619.1 of the Code of Civil Procedure (Code)
                                            (735 ILCS 5/2-619.1 (West 2020)), which permits a defendant to assert grounds for dismissal under both sections
                                            2-615 (id. § 2-615) and 2-619 (id. § 2-619) of the Code in a single motion. A section 2-615 motion to dismiss tests
                                            the legal sufficiency of the complaint. Hadley v. Doe, 2015 IL 118000, ¶ 29, 393 Ill. Dec. 348, 34 N.E.3d 549. Upon
                                            the filing of such a motion, the court's inquiry is whether the allegations of the complaint, when construed in the light
                                            most favorable to the plaintiff, state sufficient facts to establish a cause of action upon which relief may be granted.
                                            Id. The court should consider all facts apparent from the face of the complaint, including any attached [**15]
                                            exhibits. Id. However, we do not take mere conclusions of law or fact as true unless supported by specific factual
                                            allegations. Cretella v. Azcon, Inc., 2022 IL App (1st) 211224, ¶ 11. A cause of action should not be dismissed
                                            unless it is clear that no set of facts can be proved under the pleadings that would entitle the plaintiff to recover.
                                            Tuite v. Corbitt, 224 Ill. 2d 490, 510, 866 N.E.2d 114, 310 Ill. Dec. 303 (2006).
                                                  Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 28 of 33 PageID #:448
                                                                                                                                                      Page 6 of 11
                                                               2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **15

                                             [*P25] A section 2-619 motion, though, is a "'yes but' motion that admits both that [the] complaint's allegations are
                                            true and that the complaint states a cause of action, but argues that some other defense exists that defeats the
                                            claim nevertheless." Doe v. Univ. of Chi. Med. Ctr., 2015 IL App (1st) 133735, ¶ 40, 391 Ill. Dec. 647, 31 N.E.3d
                                            323. When considering a section 2-619 motion, a court must likewise accept all well-pled allegations in the
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            complaint as true, as well as any inferences that may reasonably be drawn in the plaintiff's favor. Id. ¶ 35. Dismissal
                                            is appropriate if, considering the matter raised in the section 2-619 motion, the plaintiff can prove no set of facts that
                                            would support a cause of action. Id.

                                             [*P26] We review dismissal pursuant to sections 2-615 and 2-619 de novo. Calloway v. Chi. Bd. of Election
                                            Comm'rs, 2020 IL App (1st) 191603, ¶ 9, 440 Ill. Dec. 739, 155 N.E.3d 509. De novo review means we consider
                                            the motion anew and perform the same analysis that a trial court would. Muhammad v. Abbott Lab'ys, Inc., 2022 IL
                                            App (1st) 210478, ¶ 22, 461 Ill. Dec. 399, 203 N.E.3d 1001. We may affirm on any basis supported by the record.
                                            Rivera v. Allstate Ins. Co., 2021 IL App (1st) 200735, ¶ 25, 454 Ill. Dec. 421, 189 N.E.3d 982.


                                            [*P27] C. Tortious Interference with a Contract

                                             [*P28] Defendants assert that ITSA preempts NAV's tortious interference with a contract [**16] claim since the
                                            claim is based on misappropriation of trade secrets that Arora is alleged to be using and disclosing in his
                                            employment with SFS. NAV counters that its claim is not preempted since it is not based solely on trade secret
                                            misappropriation. Rather, NAV argues that it stated a sufficient claim by alleging that, regardless of trade secrets,
                                            the defendants induced Arora to work for a competitor and solicit NAV's customers, thereby breaching provisions of
                                            his contract with NAV.

                                             [*P29] To state a cause of action for tortious interference with a contract, a plaintiff must allege (1) the existence of
                                            a valid and enforceable contract between the plaintiff and a third party, (2) the defendant's awareness of the
                                            contract, (3) defendant's intentional and unjustified inducement of a breach, (4) defendant's wrongful conduct
                                            caused the third party to subsequently breach the contract, and (5) resulting damages. Purmal v. Robert N.
                                            Wadington & Associates, 354 Ill. App. 3d 715, 727, 820 N.E.2d 86, 289 Ill. Dec. 578 (2004). Here, NAV fails to
                                            allege that any damages resulted from breach of Arora's contract, such as lost customers or profits. Allegations that
                                            Arora is working for a competitor or soliciting NAV customers only go to the fourth element—whether Arora has
                                            breached his contract with NAV. Damages [**17] are a distinct element, which a plaintiff must plead and prove to
                                            maintain an action for tortious interference with a contract. Davis v. Times Mirror Magazines, Inc., 297 Ill. App. 3d
                                            488, 498, 697 N.E.2d 380, 231 Ill. Dec. 826 (1998). Pleading that the defendant induced a breach and that a
                                            breach occurred are not enough. We do not presume resulting damages. "Illinois is a fact-pleading jurisdiction."
                                            (Internal quotation marks omitted.) Weiss v. Waterhouse Securities, Inc., 208 Ill. 2d 439, 451, 804 N.E.2d 536, 281
                                            Ill. Dec. 571 (2004). "[P]laintiffs must allege facts sufficient to bring a claim within a legally recognized cause of
                                            action." Praither v. Northbrook Bank & Trust Co., 2021 IL App (1st) 201192, ¶ 50, 455 Ill. Dec. 918, 192 N.E.3d 747
                                            (citing Vernon v Schuster, 179 Ill. 2d 338, 344, 688 N.E.2d 1172, 228 Ill. Dec. 195 (1997)). "[A]bsent the necessary
                                            allegations, even the general policy favoring the liberal construction of pleadings will not satisfy the requirement that
                                            a complaint set forth facts necessary for recovery under the theory asserted." Alpha School Bus Co. v. Wagner, 391
                                            Ill. App. 3d 722, 735, 910 N.E.2d 1134, 331 Ill. Dec. 378 (2009). Accordingly, NAV's claim is deficient for failure to
                                            allege resulting damages.

                                             [*P30] To the extent that NAV's tortious interference with a contract claim alleges resulting damages based on
                                            Arora's use or disclosure of alleged trade secrets, the claim is preempted. With some exceptions not relevant here,
                                            ITSA "is intended to displace conflicting tort, restitutionary, unfair competition, and other laws of [Illinois] providing
                                            civil remedies for misappropriation of a trade secret." 765 ILCS 1065/8(a) (West 2020). In other words, ITSA
                                            preempts [**18] all common law claims based on misappropriation of trade secrets. ExactLogix, Inc. v.
                                            JobProgress, LLC, 508 F. Supp. 3d 254, 268 (N.D. Ill. 2020). "In deciding the preemption issue, courts need not
                                            determine whether the alleged trade secret is in fact a trade secret." Id. Instead, we assess whether the claim is
                                            based on the misappropriation of an alleged trade secret. Id. ITSA does not preempt a claim if the claim "would
                                            stand even if the information was not alleged to be a trade secret" and the plaintiff seeks redress "for wrongs
                                                  Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 29 of 33 PageID #:449
                                                                                                                                                    Page 7 of 11
                                                              2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **18

                                            beyond the mere misappropriation." (Internal quotation marks omitted.) Id. As we found, NAV's tortious interference
                                            claim cannot stand apart from alleging misappropriation of trade secrets. And NAV does not seek redress for
                                            breaches of other provisions of Arora's contract since NAV does not allege resulting damages. Rather, NAV's claim
                                            ultimately seeks redress for misappropriation of trade secrets and is, therefore, preempted.
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                             [*P31] NAV cites Alpha School Bus to argue that ITSA does not preempt its tortious interference claim.
                                            Specifically, NAV likens its claim to the breach of fiduciary duty claim that this court found ITSA did not preempt in
                                            Alpha School Bus. There, a breach of fiduciary duty claim included an allegation that a former corporate officer was
                                            soliciting [**19] the plaintiffs' employees to work for his competing business. Alpha School Bus, 391 Ill. App. 3d at
                                            737. This allegation was one reason, among others, that we found that the claim was "not dependent upon the
                                            misappropriation of trade secrets." Id. NAV argues that its allegation that Arora has solicited NAV customers on
                                            behalf of SFS is analogous. We disagree.

                                             [*P32] We find Alpha School Bus distinguishable. Unlike this case, the plaintiff in Alpha School Bus pled facts
                                            sufficient to establish each element of the separate claim, including a resulting injury. Id. at 747 (stating the
                                            necessary elements to assert a breach of fiduciary duty claim, including injury). Notably, the plaintiff did not allege
                                            that the former corporate officer merely solicited the plaintiff's employees to potentially leave and work for the
                                            competing company. Rather, the plaintiff alleged that, in conjunction with promises of future employment with the
                                            competing company, the officer solicited the employees to sabotage the plaintiff's business and take property—and
                                            that this occurred. Id. at 729-30. Those actions, along with others, enabled the defendants to obtain contracts to
                                            transport public school students that the plaintiff would have otherwise been awarded. Id. at 733. Thus, the plaintiffs
                                            were injured by the actions [**20] they alleged as breaches of the former officer's fiduciary duty. As we observed,
                                            NAV's complaint fails to allege that any injury resulted from the defendants' interference with or Arora's breach of
                                            his contract with NAV.

                                             [*P33] We also observe that, to the extent NAV sought injunctive relief apart from damages, the claim is moot
                                            since the two-year term contained in Arora's contract has expired during the pendency of this appeal. See The
                                            Agency, Inc. v. Grove, 362 Ill. App. 3d 206, 209, 839 N.E.2d 606, 298 Ill. Dec. 283 (2005) (finding that the
                                            enforceability of a noncompetition provision was a moot issue where noncompetition period had expired).

                                             [*P34] For these reasons, we find that NAV failed to state sufficient facts to establish a cause of action under a
                                            theory of tortious interference with a contract.


                                            [*P35] D. Trade Secret Misappropriation

                                             [*P36] To state a cause of action for misappropriation of trade secrets, a plaintiff must allege facts that the
                                            information at issue was (1) a trade secret, (2) misappropriated, and (3) used in the defendant's business. Alpha
                                            School Bus, 391 Ill. App. 3d at 740.

                                             [*P37] "[T]rade secret" means "information, including but not limited to, technical or non-technical data, a formula,
                                            pattern, compilation, program, device, method, technique, drawing, process, financial data, or list of actual or
                                            potential customers [**21] or suppliers, that: (1) is sufficiently secret to derive economic value, actual or potential,
                                            from not being generally known to other persons who can obtain economic value from its disclosure or use; and (2)
                                            is the subject of efforts that are reasonable under the circumstances to maintain its secrecy or confidentiality." 756
                                            ILCS 1065/2(d) (West 2020).

                                             [*P38] In determining whether information is a trade secret, courts consider the following factors: (1) the extent to
                                            which the information is known outside of the plaintiff's business, (2) the extent to which it is known by the
                                            employees and others involved in the plaintiff's business, (3) the extent of measures plaintiff took to guard the
                                            secrecy of the information, (4) the value of the information to the plaintiff and to its competitors, (5) the amount of
                                            effort or money the plaintiff expended in developing the information, and (6) the ease or difficulty with which the
                                            information could be properly acquired or duplicated by others. Strata Marketing, 317 Ill. App. 3d at 1068.
                                                   Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 30 of 33 PageID #:450
                                                                                                                                                        Page 8 of 11
                                                               2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **21

                                             [*P39] "Whether information constitutes a trade secret focusses fundamentally on its secrecy." (Internal quotation
                                            marks omitted.) Multimedia Sales & Mktg. v. Marzullo, 2020 IL App (1st) 191790, ¶ 17, 453 Ill. Dec. 820, 188
                                            N.E.3d 789. "[T]he plaintiff must show that the information was sufficiently secret to give plaintiff a
                                            competitive [**22] advantage and plaintiff took affirmative measures to prevent others from acquiring or using the
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            information." Id. The key factor to establishing secrecy "is the ease with which the information can be readily
                                            duplicated without involving considerable time, effort or expense." Stampede Tool Warehouse, Inc. v. May, 272 Ill.
                                            App. 3d 580, 588, 651 N.E.2d 209, 209 Ill. Dec. 281 (1995).

                                             [*P40] But, before a court can analyze the secrecy of information, a plaintiff must identify its trade secrets with
                                            specificity. Globaltap LLC v. Elkay Mfg. Co., 13 C 632, 2015 U.S. Dist. LEXIS 704, 2015 WL 94235, *6 (N.D. Ill.
                                            Jan. 5, 2015). It would be futile to analyze whether information was sufficiently secret to derive economic value or
                                            whether the plaintiff took reasonable efforts to maintain secrecy without first knowing, with particularity, what
                                            information comprises the secret. Id.

                                             [*P41] NAV's amended complaint sets forth a lengthy list of claimed confidential information. See supra ¶ 9. At
                                            times, the list uses broad, vague terms such as services and processes without further specificity. Overall, NAV's
                                            list appears vast, perhaps encompassing its entire business operation. By so pleading, NAV essentially claims that
                                            any and every bit of its information is a trade secret. Since NAV has pled in this manner, we are unable to discern,
                                            with particularity, what information comprises the alleged trade secret or secrets.

                                             [*P42] In addition, [**23] NAV's claim is premised on Arora and three Back Office employees joining NAV and
                                            SSLLP, respectively. NAV alleges that Arora had access to customer, pricing, and marketing information and the
                                            other three knew of NAV's processes. Yet, NAV does not narrow its claim to particular information that any of the
                                            former employees possessed.

                                             [*P43] Furthermore, NAV does not indicate whether any of its information is compiled in an organized format, the
                                            medium in which such information exists, or how or where such information is kept. Nor does NAV allege that any
                                            of the employees took anything besides the information contained in their own heads. "General knowledge, skill,
                                            and experience gained by an employee during employment cannot be claimed as a trade secret." United States
                                            Gypsum Co. v. LaFarge N. Am., Inc., 508 F. Supp. 2d 601, 624 (N.D. Ill. 2007). "[A]n employee must be entitled to
                                            utilize the general knowledge and skills acquired through experience in pursuing his chosen occupation." Delta
                                            Med. Sys., Inc. v. Mid-America Med. Sys., Inc., 331 Ill. App. 3d 777, 791, 772 N.E.2d 768, 265 Ill. Dec. 397 (2002).

                                             [*P44] We reiterate that Illinois is a fact-pleading jurisdiction. Marshall v. Burger King Corp., 222 Ill. 2d 422, 429,
                                            856 N.E.2d 1048, 305 Ill. Dec. 897 (2006). A plaintiff must allege facts sufficient to bring a claim within a legally
                                            recognized cause of action. Id. at 429-430. This pleading standard requires that a plaintiff claiming to possess a
                                            trade secret must identify it plainly rather than "'invite the [**24] court to hunt through *** details in search of items
                                            meeting the statutory definition.'" Nat'l Tractor Parts Inc. v. Caterpillar Logistics Inc., 2020 IL App (2d) 181056, ¶ 46,
                                            446 Ill. Dec. 566, 171 N.E.3d 1 (quoting IDX Systems Corp. v. Epic Systems Corp., 285 F. 3d 581, 584 (7th Cir.
                                            2002)).

                                             [*P45] Courts evaluating the sufficiency of trade secret misappropriation claims have required specificity. See
                                            Nilssen v. Motorola, Inc., 963 F. Supp. 664, 672 (N.D. Ill. 1997) ("[A plaintiff] must articulate protectable trade
                                            secrets with specificity or suffer dismissal of [their] claim."). Long lists of broad items do not suffice. Id. (stating that
                                            a plaintiff fails to state a claim under ITSA "by simply producing long lists of general areas of information which
                                            contain unidentified trade secrets." (Internal quotation marks omitted.)); see also Composite Marine Propellers, Inc.
                                            v. Van Der Woude, 962 F. 2d 1263, 1266 (7th Cir. 1992) ("It is not enough to point to broad areas of technology and
                                            assert that something there must have been secret and misappropriated. The plaintiff must show concrete
                                            secrets."). Generic descriptions do not allege a protectable trade secret. See Nat'l Tractor Parts Inc. v. Caterpillar
                                            Logistics Inc., 2020 IL App (2d) 181056, ¶ 53, 446 Ill. Dec. 566, 171 N.E.3d 1 (finding that "'a process that focused
                                            on efficiency, cost, quality, safety, and transportation'" did not qualify as a trade secret since this description
                                            "contained generic terms that many companies would use to describe their assembly processes."). And a plaintiff
                                            cannot resort to claiming all its information is a trade secret. See Nilssen, 963 F. Supp. at 672 (observing that "a
                                                   Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 31 of 33 PageID #:451
                                                                                                                                                         Page 9 of 11
                                                               2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **24

                                            blunderbuss statement" [**25] like "'Everything you got from us was a trade secret'" is legally insufficient); see also
                                            Bridgeview Bank Group v. Meyer, 2016 IL App (1st) 160042, ¶ 14, 401 Ill. Dec. 214, 49 N.E.3d 916 (finding that
                                            purported confidential information, which "encompassed virtual entirety of its business operations" amounted to a
                                            conclusory allegation). NAV's asserted trade secret list bears all these deficiencies. Thus, we find that NAV failed to
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            allege specific trade secrets.

                                             [*P46] Some items NAV listed may be the kind of information that could constitute a trade secret, such as
                                            customer and pricing information. But NAV fails to allege requisite additional facts to show that its information is
                                            sufficiently secret to derive economic value. Cf. Stampede Tool Warehouse, 272 Ill. App 3d at 589 (finding that a
                                            customer list was a trade secret when developed through a "laborious" method, which required "a substantial
                                            amount of time, effort, and expense" and the list was not readily available from a public source). Instead, NAV
                                            parrots the legal conclusion that its information "is sufficiently secret such that NAV derives economic value *** for it
                                            not being generally known." See Welsh v. Commonwealth Edison, Co., 306 Ill. App. 3d 148, 155, 713 N.E.2d 679,
                                            239 Ill. Dec. 148 (1999) ("A pleading which merely paraphrases the elements of a cause of action in conclusory
                                            terms is not sufficient."). NAV makes no allegations to support how this is so. NAV does [**26] not claim that it
                                            spent considerable time, effort, and expense to develop its information.5 Nor does NAV show whether it would be
                                            difficult to duplicate such information. As with the tortious interference claim, we will not infer necessary allegations
                                            that NAV failed to plead.

                                             [*P47] Further, a close reading of NAV's amended complaint indicates that its information may not be so secret
                                            since Sudrania already had it. Again, NAV's misappropriation claim is premised on the acquisition of trade secrets
                                            by hiring Arora and three Back Office employees (Modi, Sharma, and Gohda) in contravention of their duties of
                                            confidentiality. But, at the same time, NAV alleges that Sudrania, as a former key employee of NAV, is "intimately
                                            familiar" with NAV's information and by early 2020—before any of the four employees joined SFS or SSLLP—he
                                            "established a business to compete with NAV by replicating the business model and structure NAV utilizes using
                                            NAV *** proprietary, confidential, or trade secret information." When considering a motion to dismiss, "a court must
                                            accept as true all well-pleaded facts, as well as any reasonable inferences that may arise from them." (Emphasis
                                            added.) Patrick Eng'g, Inc. v. City of Naperville, 2012 IL 113148, ¶ 31, 976 N.E.2d 318, 364 Ill. Dec. 40. The
                                            reasonable inference [**27] that arises from these allegations is that Sudrania already knew NAV's information and
                                            that NAV's information was not sufficiently secret to derive a competitive advantage. Due to NAV's lack of
                                            specificity, its amended complaint fails to identify any specific information that the defendants acquired through
                                            hiring Arora and the others that they did not already possess. We cannot simply assume otherwise. Again, liberal
                                            construction does not require us to fill in the gaps. If the defendants already possessed NAV's information, this
                                            factor not only weighs heavily against finding NAV's information to be trade secrets, but it also negates that the
                                            defendants acquired it through improper means, even if NAV's information were to be considered trade secrets.

                                             [*P48] In addition, we observe that NAV has not made sufficient allegations that the defendants are using or that
                                            Arora and the others will inevitably disclose NAV's trade secrets. First, NAV made nearly every allegation on this
                                            element based on "information and belief." "An allegation made on information and belief is not equivalent to an
                                            allegation of relevant fact." (Internal quotation marks omitted.) Patrick Eng'g, Inc., 2012 IL 113148, ¶ 40. We
                                            recognize that certain relevant facts [**28] of a cause of action will not be known to a plaintiff when in the exclusive
                                            knowledge of the defendant. Golly v. Eastman (In re Estate of DiMatteo), 2013 IL App (1st) 122948, ¶ 83, 995
                                            N.E.2d 420, 374 Ill. Dec. 281. In such cases, "'a complaint which is as complete as the nature of the case allows is
                                            sufficient.'" Id. (quoting Yuretich v. Sole, 259 Ill. App. 3d 311, 313, 631 N.E.2d 767, 197 Ill. Dec. 545 (1994)). But a
                                            plaintiff will have knowledge of its own efforts to learn the facts they allege on information and belief and should
                                            allege the efforts taken to discover those facts. Id. Here, NAV fails to allege how it discovered that Arora and the
                                            others have used or will inevitably disclose its claimed trade secrets. Therefore, these are not equivalent to
                                            allegations of relevant facts. See id. ¶ 84 (finding the same).




                                            5 We note that NAV asserts it made significant investment in developing proprietary software, but NAV does not allege that the

                                            defendants misappropriated its software.
                                                  Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 32 of 33 PageID #:452
                                                                                                                                                    Page 10 of 11
                                                               2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **28

                                             [*P49] Second, inevitable disclosure is not assumed when, like here, there is no allegation that the employee
                                            copied the employer's confidential information in some tangible format. Saban v. Caremark Rx, L.L.C., 780 F. Supp.
                                            2d 700, 734 (N.D. Ill. 2011). Likewise, "[t]he fact that a former employee accepted a similar position with a
                                            competitor, without more, will not demonstrate inevitable disclosure." Liebert Corp. v. Mazur, 357 Ill. App. 3d 265,
FILED DATE: 8/8/2024 11:30 AM 2024CH04952




                                            284, 827 N.E.2d 909, 293 Ill. Dec. 28 (2005). Rather, to use this theory, a plaintiff must show that the former
                                            employee's new position will inevitably lead them to rely on the plaintiff's trade secrets. Stenstrom Petroleum
                                            Services Group, Inc. v. Mesch, 375 Ill. App. 3d 1077, 1096, 874 N.E.2d 959, 314 Ill. Dec. 594 (2007). Such
                                            inevitable reliance is established by facts showing that the employee could [**29] not operate or function without
                                            using the plaintiff's trade secrets. Strata Marketing, 317 Ill. App. 3d at 1071. NAV alleges no such facts. Instead, it
                                            merely repeats the element as a conclusion.

                                             [*P50] For these reasons, we find that NAV failed to allege sufficient facts to state an actionable claim for trade
                                            secret misappropriation. Having disposed of NAV's claims on these grounds, we need not address the parties'
                                            additional contentions about the sufficiency of NAV's amended complaint.


                                            [*P51] E. Leave to Replead

                                            Last, NAV contends that it should be permitted to file a second amended complaint to cure any deficiencies found in
                                            its amended complaint. Before the trial court, NAV included a request to replead in its response to the defendants'
                                            motion to dismiss, if the trial court were to find its amended complaint deficient. However, the trial court found that
                                            NAV's claims were deficient as a matter of law and dismissed them with prejudice, implicitly denying NAV's request
                                            to replead.

                                             [*P52] In Firebirds International, LLC v. Zurich American Insurance Co., 2022 IL App (1st) 210558, 463 Ill. Dec.
                                            119, 208 N.E.3d 1187, this court analyzed the dismissal of a complaint with prejudice entered after the plaintiff
                                            made an oral request to replead as the denial of a motion to amend a complaint. Id. ¶ 41. We find the situation here
                                            comparable and will do the same.

                                             [*P53] We review a trial court's [**30] denial of a motion to amend the complaint under an abuse of discretion
                                            standard. Id. ¶ 42. The factors to consider are: (1) whether the proposed amendment will cure the defective
                                            pleading, (2) whether the proposed amendment would surprise or prejudice the opposing party, (3) whether the
                                            proposed amendment was timely filed, and (4) whether the movant had previous opportunities to amend. Id. (citing
                                            Loyola Academy v. S&S Roof Maintenance, Inc., 146 Ill. 2d 263, 273, 586 N.E.2d 1211, 166 Ill. Dec. 882 (1992)).
                                            "If the amendment would not have cured a defect in the pleading, the other factors are superfluous." Keefe-Shea
                                            Joint Venture v. City of Evanston, 364 Ill. App. 3d 48, 62, 845 N.E.2d 689, 300 Ill. Dec. 800 (2005).

                                             [*P54] Here, NAV never tendered a proposed amended complaint. We note that, although the trial court dismissed
                                            NAV's claims with prejudice, NAV was not foreclosed from tendering a proposed second amended complaint along
                                            with a post-judgment motion. See 735 ILCS 5/2-1203(a) (West 2020) (providing 30-day period to file a post-
                                            judgment motion for "a rehearing, or a retrial, or modification of the judgment or to vacate the judgment or for other
                                            relief."); Waugh v. Morgan Stanley & Co., 2012 IL App (1st) 102653, ¶ 53, 966 N.E.2d 540, 359 Ill. Dec. 219
                                            (observing that trial courts retain jurisdiction to modify final judgments and orders for 30 days). The failure to tender
                                            a proposed amended complaint "significantly diminishes this court's ability to determine whether the proposed
                                            amendment would have stated a viable cause [**31] of action." Firebirds Int'l, LLC, 2022 IL App (1st) 210558, ¶
                                            43. As such, NAV offers no specifics on how it might cure the deficiencies in its amended complaint. Instead, NAV
                                            essentially asks us to speculate. We decline to do so. In addition, the fact that NAV already had one opportunity to
                                            amend its complaint further weighs against another opportunity to replead. Although we disposed of NAV's claims
                                            on different grounds from the trial court, we find that the trial court did not abuse its discretion in dismissing NAV's
                                            claims with prejudice and we will not remand for an opportunity to file a second amended complaint.

                                             [*P55] After the conclusion of briefing in this appeal, NAV filed a motion to cite supplemental authority.
                                            Specifically, NAV wished to cite an order of the federal district court from a separate action involving the same
                                            parties in this case and some similar issues. We allowed the motion but, upon review, find that the district court's
                                                  Case: 1:24-cv-09069 Document #: 25-11 Filed: 11/27/24 Page 33 of 33 PageID #:453
                                                                                                                                                  Page 11 of 11
                                                                2023 IL App (1st) 211015-U, *211015-U; 2023 Ill. App. Unpub. LEXIS 661, **31

                                            order does not change our analysis or disposition of this case. The federal district court's order makes plain that the
                                            case before it involved different pleadings, different facts, and a different procedural posture from this case. The
                                            matters in the federal case are outside the scope of our review [**32] in this appeal, which was limited to the
                                            sufficiency of the amended complaint in this case.
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                                            [*P56] III. CONCLUSION

                                             [*P57] In sum, we find that NAV failed to allege sufficient facts to state a cause of action and we affirm the
                                            judgment of the circuit court.

                                            [*P58] Affirmed.


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